Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 1 of 49



 Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudgeUrsula Ungaro
 FederalCourt-40U North M iam iAvenue -Room 12-4 -M iam i,Florida 33128
 M ovantDavid Andrew Christenson                                                    FILED By T6 o.c.
 June 18tb!2020
                                                                                         JU8 1S 2222
                         M otion foran Indefinite Extension and Reconsideration
                                                                                          cAtfn
                                                                                             xGjl
                                                                                          s.D oi
                                                                                                gtjk.sx
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                                                                                                rFt
                                                                                                       jo
                                                                                                        sygy
                                                                                                      .-MIAMi
 Judge Ungaro,

 Iguarantee thatvou willdism issthiscase.Ialso Ruarantee thatthe information thatIhave Miven vou
 w iIIused bv vou to form ulatethatdism issal.Thiscase is unw innable and verv soon the Plaintiff's
 Attornevsw illdiscoverthat.ltwould be prudentforthem to dism issbutthev w on't.

 Please don'twaste yourtim e and resourcesonthiscase. Itwoul
                                                           dbeprudentto contactthejudgesthatl
 have Iisted and ask them aboutm e.

 YOU ARE BEING M ANIPULATED.

 These classaction complaintswillbe used to tam perwith the 2020 PresidentialElection. See below .

 Review Eleventh Am icus-ANTIFA Case 1:20-cv-21108-UU Document37 Entered on FLSD Docket
 06/09/2020 Page 1of7 beforegoingfurther.W hatmadethispleadingso importanttootherjudgesand
 courts?The attachm entsare aboutm v beinR Presidentand m v resume.

 lam notpatronizing you butyouare a hero.You have no conceptofthe good thatyou have done. You
 have changed the Narrative.You m ay have given M ankind a chance atsurviving. Itisbecause ofyou that
 ChiefJusticeW illiam H.PryorJr.,(2X)SeniorJudgeClaudeM .Hilton,Jtldge Liam O'Grady,JudgeTerry
 Alvin Doughty,Judge Ed Kinkeade and Judge Roy K. Al
                                                   tman have docketed duplicate pleadingsthatwere
 written foryou,yourcourt,thiscase and m ostim portantly the American People.

 Think abouthow am azing thisis.ChiefJustice Pryordocketed Am icusBriefs8, 9,10,11 and 14 inthe
 RealityW innerappeal(W hattrulymakesthisamazingisthatthelltbCircuithasreturnedeversingle
 piece ofm ailthatIsentoverthe Iast15 years,untilthis).Seni
                                                      .   orJudge Hiltondocketed AmicusBriefs10
 and 11 in the Edward Snowden and Julian Assangecriminalcases. Judge Liam O'Grady docketed Am icus
 Brief10 inthe Snowden civilcase.Judges Doughty, Kinkeade and Altman docketed a greatntlm berof
 Am icusBriefsin classaction com plaintsagainstthe People'RepublicofChina.

 W hatm ade those Am icusBriefsso im portantto those Judges?Snowden, M anning and W innerwere aIl
 enlisted in the United StatesM ilitary and became FederalW histleblowers. Each ofthem was
 manipulated and so were the m edia organization thatpublishedtheirdocuments. Each ofthem isa
 hero.They are honoring the oath thatthey tookto uphold and protectthe Constitution.
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 2 of 49



 W ould those Judaeshave docketed mv pleadinRsin such hiah-profile (NationalSecuritv)Easesifthev
 didn'thave ascintillaoftrustinme?JudlesHilton,O'Gradvand Trenla (M anninc-caseclosed-lhave
 alIdocketed m v pleadinls previousto them docketinRthese pleadinas.

 You honored and upheld the Constitution by docketing the pleadings.Striking the pleadingsfrom the
 record would be censorship and cause ourfellow Americans irreparable harm .Leaving the pleadingsin
 thedocketdoesnotharm anyone.Itwillnevergettothatpointbutajurywillneverseethose
 pleadings.The pleadingsw ere foryou,to give you information.

 There are atIeast14 ClassAction Com plaintsagainstthe People'sRepublicofChina.lsuffered the sam e
 damagesasaIIplaintiffsand thushavealegalrighttojoin.Thiscase isno different.Youandyourfamily
 suffered and w illcontinue to sufferuntilthe truthcomesout.

 Iw illcease to send pleadinlsw ithoutaskin: forperm ission.

 Plaintiff'sattorney,M atthew M oore,actually argued m ycaseform e in hisM otion to Strike.He
 intentionally failed to disclose thatIwasfighting form ycountry and thatmy goalwasto change the
 Narrative.Judge Sullivan in the Flynn casegave m e 17 docketnum bers.Six ofthe 17 were pleadingsand
 the restwereIetterssentto multiplejudges.Therewasno intentiononmyparttohavetheIetters
 docketed butforsom e reason JudgeSullivan thoughtitwasim portantto docketthem .He putthe
 narrative in butnotm yname even though he gave aclue ashow tofigure outwho Iwas.Please ask him
 ifhe wisheshe had publicly docketed my documents.Inthe DNC v.Trum pcaseJudRe Koeltldotketed
 50 pluspleadingsofm ine.Ibelieve thatthe informationthatlgave to Judge Koeltlwasused by him to
 dismissthecase.Ibelievethepartiesallowedthedismissal,withnoappeal,becausethejudgedocketed
 my pleadings.

 Askplaintiff'sAttornev,underoath,ifIam wrona.Askhim ifhecanprovetodav(lune 18th,2020)that
 withouta doubtchina isresponsible forthe pandem ic.M atthew M oore can'tdo that.

        You won'tunderstand thisbuttrustm e.AIIofthe ClassAction Com plaintsagainstChina have
        severalcommonthreads.Thefirstisa RepublicanAttorney,LarryKlayman(Googlehim),who is
        hel!benton getting Trum p reelected.The second isTrump.These caseswillbe used to get
        Trum p reelected.THISCASE IS FAKE NEW S.

 M r.M oore onened the doorbv referencing thesetwo casesin hisaraumentand he did so ina negative
 wav thatim nuxned mv character.Ithinkitisnrudentthatvou know whatwas in those 17
 nleadinxs/lettersbecause the case ishigh profile.The pleadingsinthe DNC v.Trum p case can befound
 online andPacer.Attachedarethe17 pleadingsandIetters(withoutattachments)thatIfiledand that
 arelistedinthedocketfor:UnitedStatesv.Flynn(1:17-cr-00232)DistrictCourt,DistrictofColumbia
 Judge E.Sullivan FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001

 Judge Sullivan knew thatlwasrightbutdid notknow how to proceed with m y inform ation,askhim .

                                     Filed inthe following cases'
                                                                .
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 3 of 49




        UnitedStatesv.Boucher(1:18-cr-00004)DistrictCourt,W .D.KentuckyJudge Marianne0.
        BattaniFederalCourt-231W .Lafayette Blvd.,Room 252 -Detroit,M l48226
    2. United Statesv.Flynn (1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudge E.Sullivan
        FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
        United Statesv.Stone(1:19-cr-00018)DistrictCourt,DistrictofColumbiaJudgeA.Jackson
        FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
       Grecov.PeoplesRepublicofChina(5:20-cv-02235)DistrictCourt,E.D.PennsylvaniaJudgeAnita
        Blumstein Brody FederalCourt-601 M arketStreet-Philadelphia,PA 19106
        Patellav.PeoplesRepublicofChina(1:20-cv-00433-TDS-JEP)DistrictCourt,M .D.NorthCarolina
       Judge Thom asD.SchroederFederalCourt-251 N.M ain Street-W inston-salem , NC 27101
        Benitez-W hitev.PeoplesRepublicofChina(4:20-cv-01562)DistrictCourt,S.D.TexasJudge
        Ew ingW erleinJr.FederalCourt-515 RuskStreet-Houston,TX 77002
       StateofMississippiv.People'sRepublicofChina(1:20-cv-00168-LG-RHW )DistrictCourt,S.D.
       M ississippiJudge LouisGuirolaJr.FederalCourt-2012 15th Street-Suite 814 -Gulfport,M S
       39501
    8. AzeleaW oodsofOuachi  tav.PeoplesRepublicofChina(3:20-cv-00457-TAD-KLH)DistrictCourt,
       W .D.Louisiana JudgeTerry Alvin Doughty FederalCourt-201Jackson Street-Suite 215-
       M onroe,Louisiana 71201
       Edwardsv.PeoplesRepublicofChina(2:20-cv-01393)DistrictCourt,E.D.LouisianaHon N.V.
       Jolivette Brown FederalCourt-500 PoydrasStreet-New Orleans,LA 70130
    10.StateofM issouriv.PeoplesRepublicofChina(1:20-cv-00099)DistrictCourt,E.D.MissouriJudge
       Stephen Lim baugh -FederalCourt-555 IndependenceStreet-Cape Girardeau, M O 63703
    11.Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudge Ursula
       Ungaro FederalCourt-400 North M iam iAvenue -Room 12-4 -M iam i, Florida 33128
    12.BellaVista LLCv.ThePeoplesRepublicofChina(2:20-cv-00574)DistrictCourt,D.NevadaJudge
       Jam esC.M ahan -FederalCourt-333 S.LasVegas Bl
                                                    vd -LasVegas,NV 89101
    13.BuzzPhotov.PeoplesRepublicofChina(3:20-cv-00656)DistrictCourt,N.D.TexasJudge Ed
       Kinkeade FederalCourt-1100 Com merceSt.-Room 1625 -Dallas,Texas75242
    14.CardiffPrestigeProperty,lnc.v.PeoplesRepublicofChina(8:20-cv-00683)DistrictCourt,C.D.
       California Judge David 0.Carter-FederalCourt-411W estFourth St.-Courtroom 9D -Santa
       Ana,CA,92701
    15.Bourque CPA s& Advisorsv.The PeoplesRepublicofChina(8:20-cv-00597)DistrictCourt?C.D.
       CaliforniaJudge R.Gary Klausner-FederalCourt-255 EastTem ple Street-LosAngeles, CA
       90012
    16.Aharonv.ChineseCommunistParty(9:20-cv-80604)DistrictCourt,S.D.FloridaJudgeRoyK.
       Altman FederalCourt-299 EastBroward Blvd.-FortLauderdale,FI.33301
    17.Smithv.ChineseCommunistParty(2:20-cv-01958)DistrictCourt,E.D.PennsylvaniaJudgeAnita
       B.Brody FederalCourt-601 M arketStreet-Philadelphia,PA 19106
    18.United Statesv.Flynn (1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudgeJohnGleeson
       Debevoise & Plim pton LLP-919Third Avenue -New York,New York10022
    19.UnitedStatesv.Flynn(1:17-cr-00232)DistrictCourt,DistrictofColumbiaAttorneyBeth
       W ilkinson -2001 M StreetN.W .-10th Floor-W ashington, D.C.20036
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 4 of 49




    20.United Statesv.Manning(1:19-dm-00012)DistrictCourt,E.D.VirginiaJudgeAnthonyJohn
        Trenga FederalCourt-401 Courthouse Square -Alexandria,VA 22314
    21.United Statesv.Snowden(1:19-cv-01197)DistrictCourt,E.D.VirginiaJudgeLiam O'Grady
        FederalCourt-401 Courthouse Square-Alexandria,VA 22314
    22.United Statesv.Snowden(1:13-cr-265))DistrictCourt,E.D.VirginiaSeniorJudgeClaude M.
        Hilton FederalCourt-401 Courthouse Square -Alexandria,VA 22314
    23.United Statesv.W inner(1:17-cr-00034)DistrictCourt,S.D.GeorgiaJudgeJamesRandalHall
        FederalCourt-600Jam esBrown Blvd.-Augusta,GA 30901
    24.United Statesv.Assange(1:18-cr-00111)DistrictCourt,E.D.VirginiaSeniorJudgeClaude M.
        Hilton FederalCourt-401 Courthouse Square -Alexandria,VA 22314
    25.Inre:MichaelFlynn(20-5143)CourtofAppealsforthe D.C.CircuitClerkMarkLangerU.S.
        AppealsCourtD.C.-333 Constitution Ave.N.W .-W ashington D.C.20001
    26.lnre:RealityW inner(20-11692)CourtofAppealsforthe11thCircuitClerkDavidSmithAppeals
        Court11thcircuit-56 Forsyth St., N.W .-Atlanta,Georgia 30303
    27.CenterforDemocracy& Technologyv.Trump(1:20-cv-01456)DistrictCourt,Districtof
        Colum biaJudge TrevorNeilM cFadden -FederalCourt-333 Constitution Ave.N.W .-
        W ashington D.C.20001
    28.Mccarthyv.Pelosi(1:20-cv-01395-RC)DistrictCourt,DistrictofColumbiaJudgeRudolph
        Contreras-FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001

 God ee

 Si ere ,


 David Andrew Christenson
 Box9063
 M iramarBeach,Florida 32550
 504-715-3086
 davidandrewchristenson@ gmail.com,
                                  '
 dchristenson6@ hotm ail.com ;

                                        E   IC    EO FSERVICE

         Iherebycertify that J e th,20           ' the fore oing with the ClerkofCourtand
               served the pl ding aIIco          ofre       -          first-class mail.


                                      David Andrew Christenson
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 5 of 49



                                  U NITED STATES CO URT O FAPPEALS
                                      FOR THE ELEVENTH CIRCUIT

 David Andrew Christenson- Appellant(Movant)

 United States                                                        No.20-11692
 Plaintiff- Appellee                                                  (Case:1:17-ooo34-JRH-BKE)



 RealityW inner
 Defendant-Appellant

                               M otion forLeaveto File thisAm icusBrief

 Theattached pleading/responsetoJudge Ungaro'sorderconnectsRealityW inner,Edward Snowden,
 Chelsea M anning,Julian Assange,GeneralM ike Flynn and m yselfto theGenocide ofM ankind.

 The 2020 PresidentialElection isbeing tam pered w i
                                                   th and nobody isdoing anything.

 ''Freedom isnevermore than one generation awayfrom extinction. W e didn'
                                                                        tpass itto ourchildren in
 the bloodstream .Itm ustbe foughtfor,protected,and handed on forthem to do the same.'Ronald
 Reagan

 W E ARETHE ENEM Y.

 GOdSpeed

 Si e eIy                          -

     'A        hristenson
 BOX 9063
 M iramarBeach,Florida32550
 504-715-3086
 davidandrewchristenson@ Rm ailecomz
                                   '
 dchristenson6@ hotm ail.com z
                             '

                                       CERTIFICATEOFSERVICE

         Ihereby certify thaton un      ,20 Ifiled the foregoing w i
                                                                   ththe ClerkofCourtand
               served the p a      n aII uns      ecord bye-m ailand first-classm ail.


                                       David Andrew Christenson
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 6 of 49
    Case 1:18-cr-00111-CM H Document42 Filed 06/11/20 Page 1 Of11 PagellN 268



   UnitedStatesv.Assange(1:18-cr-K 111)DistrictCourtE.D.VirginiaSeniorludgeClaudeM .Hilton
   FederalCotla -401Courthouse Square -Alexandria,VA 22314
   M ovantDavid Andrew Christenson
   lune 3fd#2020

                                      Eleventh Am icus-ANTIFA

   Antifawillensure thatthe truth comesout.There arethree differentfvneralsforGeorge Floyd.
   Minnesota,North Caroline and inTexason June 9tb,2020.Floyd'sdeath isoneofthose eataclysmic
   events.There isno waythatthe officerswillbe convided.THE U.$.M 1tITA   -RY W ILLBE CA-G ED ON TO
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   willnotbe ableto proted the FederalJudiriary.Ilose thatabilitytlle longerthisgoeson.

   Attached issom ething Iwrote aboutfunning forPresidenteightyearsago.TheYouTubevideo hasbeen
   rem oved and sanitized from the internet.AnoId resume isattached aswell.

                                      Filed inthefollowing cases:

          UnitedStatesv.Boucher(1:18-cr-00004)DistrictCourt,W .D.KentuckyJudge Marianne0.
          BattaniFederalCourt-231W .Lafayette BIMd.,Room 252 -Detrolt,M l48226
          UnitedStatesv.Flynn(1;17-tr-00232)DistrktCourt,DistrictofColumbiaJudgeE.Sullivan
          Fedeo lCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
          UnitedStatesv.Stone(1:19-cr-000l8)gistrictCourt,DistrictofColumbiaJudgeA.Jackson
          FederalCourt-333 Constitution Ave.N.W .-W ashington D-C.20001
      4. Grecov.PeoplesRepublicofChina(5:20<v-02235)DistrictCourt,E.D.PennsylvaniaJudgeAnita
          Blumstein Brody FederalCourt-601 MarketStreet-Philadelphia,PA 19106
      S. Patellav.PeoplesRepublicofChina(1:20-cv-00433-TD$-JEP)DistrictCourt,M .D.NorthCarolina
          JudgeThomasD.SchroederFederalCourt-251 N.M ainStreet-W inston-salem.NC 27101
      6. Benitez-w hitev.PeoplesqepublicofChina(4:20-œ-01562)DistrictCourt S-D.TexasJudge
          Ewing W erleinJr.FederalCotlrt-515 RusiStreet-Houston,TX 77002
      7. StateofMississipplv.People'sRepublicofChina(1:20-cv-00168-LG-RHW )Di
                                                                            strictCourt S.D.
          M ississippiJudge LouisGuirolaJr.FederalCourt-2012 15thR reet-Suite814 -Gulfport.M S
          39501
      8. Azel
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                           tav.PeoplesRepublicofChina(3:2Gcv-00457-TAD-KLH)DistrictCourt,
          W ,D.touisiana JudgeTerw Alvin Doughty FederalCourt-zollackson Street-Suite 215 -
          Monroe,Louisiana 71201
      9. Edwardsv.PeoplesRepublicofChin:(2:20-+-01393)DistrictCourkE.D.LouisianaHon N.V.
          Jolivette Brown FederalCoqrt-500 PoydrasStreet-New Orleans,t.
                                                                      A 70130
      10.StateofMissouriv.PeoplesRepublicofChina(1:2û-t'
                                                       v-00099)DistrictCourt,E,D.MissouriJudge
          Stephen Lim baugb -FederalCourt-555 jndependence Street-Cape Girardeau,M O 63703
      ll.Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S,D.FloridaJudge Ursula
          Ungaro FederalCourt-400 Nodh M iamiAvenue-Room 12-4 -M iam i,Florida 33128
      12.BellaVistattCv.ThePeoplesRepublicofChina(2:20-W-00574)DistrictCourtD.NevadaJudge
          Jam esC.M ahan -FederalCotlft-333S.LasVegasBlvd -LasVegas,NV 89101
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 7 of 49
    Case 3:2O-cv-00656-K-BN Docum ent13 Filed 05/22/20 Page 1 Of1 PagelD 101


                         IN TRH E U NITED STATES DISTRICT CO UR T
                          FO R TH E NO RTH ERN DISTRICT O F TEXAS


    BUZZ PH OTO S,INC .,etaI.

                          #/t?/rl#//J
                                    j'
                                     ,
                                                        CivilAction No.3:20-cv-00656-K

    TH E PEOPLE'S REPUBLIC O F CHIN A,et
    al.


                          Dqfendants.

     N O TICE TO TH E CO URT CO N CERN ING M R.DAV ID A NDR EW C H RISTENSO N

            Plaintiffs, Buzz Photos, lnc. Freedom W atch, lnc., (''Freedom W atch'') and Lan'y
   Klaym an,on behalf of them selves and m em bers ofthe putative class,hereby provide notice to

   the Court that they do not sanetion the attempted am icus filings of M r. David Andrew

   Christenson.H e has attem pted to intervene in severalofFreedom W atch's cases in the pastand

   courtshave denied his participation.Ifhe wishes to be a potentialclass m em ber once the Court

   certifiestheclass,ifheshouldsoqualify,hemayjointhisactionasamemberoftheclassatthat
   tim e.


   Dated:M ay 22,2020                                Respectfully subm itted,

                                                     A/Iuarrb'Klavman
                                                     Lan'y K laym an,Esq.
                                                     Frcedom W atch,lnc.
                                                     D .C.BarNo.33458 l
                                                     2020 Pcnnsylvania A ve,NW
                                                     Suite 345
                                                     W ashington,DC,20006
                                                     Tel:(561)558-5336
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Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 8 of 49




 U nited States v.Flynn (1:17-cr-00232)
 D istrict Court, D istrict of Colum bia Judge E.
 Sullivan FederalCourt- 333 Constitution
 A ve.N .W .- W ashington D .C.20001



 Docketand 17 pleadingsand Ietters(no
 attachm ents.)
     Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 9 of 49

               Case 1:17-cr-00232-EG S Docum ent204-1 Filed 05/12/20 Page 1 Of4



         Thebelow chartcontainsidenticalrelevantdocketentries.

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                                Presidentand HisFam ily''Signed by JudgeEm m etG      .
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                   1Q/2o/2o17'MINUTEORDER.ThisCourthasreceivedseveralmotionsto
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                             l
                                 !from apdvate individualwho isneithera partyto thiscase
                                 qnorcounselofrecord forany party.The FederalRulesof
                                fcrim inalProcedure do notprovride for inlenrention by third
                                  parties in crim inalcases.The Courtrecognizesthatthe
                                im ovantsincerelybelievesthathehasinformation toshare
                                :thatbearson thiscase, and that,understandably,hewishesto
                                '
                                jbeheard.Optionsexistforaprivatecitizen to expresshis
                                 viewsaboutmattersofpublicinterest buttheCourt'sdocket
                                 isnotan availableoption.'rhedocketistherecord ofofficial
                                lproceedings related to crim inalchargesbroughtby the United
                                 statesagainstan indiùdualwho haspled guiltyto acrim inal
                                 offense.Forthebenefitofthe partiesin thiscaseand the
                                rpublic,thedocketm ustbc maintained in an orderlyfashion
                                and in accordance with courtrules.The m ovantstates thathe
                               !disagreesw'ith thesim ilarM inuteOrderissued byJudge
                                Berm an Jackson in Crim inalCaseNum ber17-201, butthe
                               'contraq-legalauthorityonwhichhereliesisneither
                               lpersuasl:renorapplicable.Therefore,theClerk isdirected not
                               2to docketadditionalfilingssubm itted by the would-be
                               Fintervenor. Ifthe individualseeksrelieffrom thisCourt's
                                rulings,he m ustappealthe rulingsto the U nited States Court
                               iofAppealsfortheDistrictofColumbiaCircuit.Signedby
                               lludgeEmmetG.Sullivanon 12/20/2017.(lcegsa)(Entered:
                               112/20/2017)

7,   /            12/20/20171''LEAVETOFILEDENIED''byJudgeEmmetG.Sullivanon
                               2/20/2017,letterregardingSpecialCounselRobertMueller
                                                                                               I
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 10 of 49

              C> e 1:17-cr-0Q232-EGS Document204-1 Filed 05/12/20 Page 2 of4


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 Judge Emm etG.Sullivan                                                 Decem ber13th; 2017
 U.S.DistrictCourtforthe DistrictofColumbia
 333 Constitution Avenue,N.W .
 W ashington D.C.20001

                                      UNITED STATES DISTRICT COURT
                                       THE DISTRICT OFCOLUM BIA

  United StatesofAmerica                                        CriminalDocketNo.1:17-cr-232

                    V.                                          Judge Em metG.Sullivan

  M ichaelT.Flynn
  Defendant


                         Motionto lntervene/Friend oftheCourtBrief/AmicusBrief

  The UnitedStatesCourtofAppealsforthe FifthCircuitdocketedtheattached pleading/motion(82
  Pageswhicharenotincluded).W ithinthepleadingareMotionsto IntervenethattheDistrictCourtfor
  the DistrictofColum bia refused to docket.There isnow an officialcourtrecord.80th the DC District
  Courtand the DC Appellate Courtrefused to docketmy NoticesofAppealand have refused to docket
  my NoticesofAppeal.

  TheConstitution,FirstAmendment,Iastsentenceofthe FirstAmendment(''andto petitionthe
  governmentforaredressofgrievances.//),FederalLaw,FederalCaseLaw,Precedent,etc.grantmeto
  the rightto file thispleading and to have itentered into the publiccourtrecord.

  OncetheMotionto Intervene/Friend oftheCourtBrief/AmicusBriefispubliclydocketeditbecomes
  m ootand there willbe no furtherpleadingsfiled on my part.

  SpecialCounselRobertM uellerispoisonousfruitand anything be prosecutesisdefective.

                    Isthiscorruption within the FederalJudiciary orare theJudgesVictims?
   (AreyouafraidofRobertMueller?Doeshe reallyhavethe powertointimidatetheFederalJudiciary?
   The answeris ''yes''because he did so in New OrleansafterHurricane Katrina.Ifldid notknow betterl
     would think hewasblackm ailing the FederalJudiciary orisitextortion,intim idation and threats?
                            W hateveritisaIIJudgesareafraid ofRobertMueller)

          Update:On12/11/2017the 5thcircuitdocketedthatIhadremediedthedefault.See attached
          emaiI.
          Update:On 12/12/2017The 5thcircuit(About21hourslater)denied myMotion.Seeattached
          em aiI.
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 14 of 49



     # Som eone inform ed the courtaboutw hatwasin the Motion and told them to deny itand
       remove itorsealit.The Courtcom plied and censored me in violation ofthe Constitution.The
       Am erican People lost.
     # W hatismostam azing isthatthe appealwasdism issed forIack ofa transcriptbutthere wasno
       transcriptbecausetherewasnevera hearing.See attached email.
       The appealwasnotdism issed onthe m eritsbuton afalse technicali ty.How could lproduce a
       transcriptwhen one did notexist?

                                   PrecedentCases(A smallsample)
 PressEnterprise v.SuperiorCourt:Accessto Crim inalProceedinRs,FirstAmendm entand Com mon Law
 auaranteethe public'sriRhtofaccessto crim inaliudicialproceedinas.
 Nixon v.W arnerCom m unications:The courts recognize the public's rightto inspectand copy iudicial
 records.
 W ashington Postv.Robinson:The public hasan unquestionable riahtto inform ation reRardinR alleaed
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    --         s-conduct. The term is ''alleRed''. There is no doubt the Federal prosecutors have
 com m itted criminalacts.
 Leucadiav.Applied ExtrusionsTechnologies:Access
 Belo Broadcasting v.Clark:Access
 Globe New spaperv.Superior:The riMhtofthe publicto m onitorthe Movernm entbv having access.
 Richm ond Newspaperv.Virginia:W ithoutpublicitv,alIotherchecksare insufficient.
 ValleyBroadcastingv.UnitedStatesDistrictCourt:FederalW histleblow ers.M ilitarv Officers.Journalists.
 ete.plav an indispensable role in aatherinR and dissem inatinR inform ation to the public.
 Landm ark Com m unicationsv.Virginia:To Ruard aaainstthe m iscarriace ofiustice.To stop prosecutor
 m isconductbefore,durinc and after.
 Cox Broadcasting v.Cohn:M v pleadinRsw illRuarantee afairtrial.
 Pansy v.Stroudsburg:Third partieshave a riahtto intervene.
 ln re Associated Press162 F.3d 503,5077th Circui
                                                t1998,Grove Fresh Distributorsv.EverFresh Juice,Beef
 lndustry Antitrust Litigation 589 F.2d 786,789 5th Circuit,United States v. Andreas, United States v.
 Corbitt,United Statesv.Chaagra,United Statesv.Lohm an,M arcusv. St.Tam many Parish SchoolBoard,
 United Statesv.Cleveland,United Statesv.Davis,United Statesv.Carolllo and Ford M otorBronco 11M DL


 Godspeed.
 Sincerely,


 David Andrew Christenson
 Box9063
 M iram arBeach,Florida 32550
 504-715-3086
 davidandrewchristensonl gmail.com
 dchristenson6@ hotmail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 15 of 49



                                     UNITED STATES DISTRICT CO URT
                                      THE DISTRICT OFCOLUM BIA

  United StatesofAmerica                                       CriminalDocketNo.1:17-cr-232

                                                               Judge Rudolph Contreras

  M ichaelT.Flynn
  Defendant

                        Motionto lntervene/rriendoftheCourtBrief/AmicusBrief
          W e aretalkinR aboutthe im peachmentand crim inalprosecution (Fruitfrom a PoisonousTree)
          ofa sittinR Presidentand hisfam ilv.

  lcanfile thisM otion because Iam avictim ofRobertM ueller'scrim inalm isconduct.

      # This M otion to Intervene becomesm ootifvou docketitin accordance w ith the Constitution,
        FirstAmendm entand the lastsentence to the FirstAm endm ent:''and to petition the
        governmentfora redressofMrievances.''Iwantnothina else from this courtexceptthe
        ConstitutionalRiahtto be heard.The Am erican People have a ConstitutionalRightto hear
        w hatIam savin? in thiscourtand forthe record.

  IwantirreversiblejusticeinaccordancewithConstitutionandonbehalfoftheAmerican People.Lookat
  the num berofcrim inalcasesin New Orleansthatwere reversed on Appealbecause ofcrim inal
  prosecutorm isconduct.Danzigerand Gloverwere two ofthe biggestCivilRightscasesfrom the Iast
  thirtyyears.Manyofthedefendantswereultimatelyfoundnotguiltyorhad majorreductionsintheir
  sentences.Gloverendedupwithjustoneconviction.(A pleadealwasentered into beforetrialthat
  excludedevidence.IwillelaborateonthisIatter.)
  The greatestpoliticaland Iegaltransgression ofmy Iife waswhen PresidentFord pardoned President
  Nixon.Nixon resigned before being im peached and was pardoned before he wasindicted.This
  catastrophiceventdenied aIIAmericansthetruth(TheirConstitutionalRights)andhad ripple(tsunami)
  effectsthatare felttoday.

      # Tbe tree thatPresidentFord planted thatdavw asas poisonousasthev com e.

  W hatifTrum p startsto pardon individuals? He could pardon Flynn and Papadopoulostoday aswellas
  M anafortand Gatesbecause the precedentw assetby Ford.W ould Flynn and Papadopouloshave to
  cooperateand testify?RememberthattheDOJdroppedthecaseagainstFredHeebe/RiverBirchLandfill
  New Orleansbefore he waseverindicted because ofcrim inalprosecutorm isconduct.Nixon was never
  calledto testify.)
  In m y bookthe firstfew wordsare:''An EpicConstitutionalCrisis.Iam talking aboutthe poîitical
  destructionofaIIthree branches(Executive,JudicialandLegislative)ofourFederalGovernment.''I
  believe thismore todaythen when Iwrote the bookfive yearsago.
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 16 of 49



     # Please acceptm v apoloRv forfilinR this M otion.''Iam sorrv-''Case Iaw and precedentfor
       arantinR this M otion are Iisted atthe end ofthe pleading.

  Thisnarrativemaybe aIittle incoherentand disjointedbutpleasegiveitachance.
  FirstAmendm ent,Fourth Amendment,Fifth Am endment,Fourteenth Amendment,Exclusionary Rule
  and Fruitfrom a PoisonousTree.

 HasCrim inalProsecutorM isconducttaken place? Papadopoulosand Flynn have entered into plea deals.
 W hatevidence,Iegalorillegal,did SpecialProsecutorRobertM uellerhave to entice orintimidate them
 into pleading guiltyand how wasthatevidence obtained?Any inform ationortestimony provided by
 Flynn and Papadopoulosw illbe Poisoned Fruitthatcan neverbe used again inany crim inaltrial.Trum p
 could neverbe prosecuted.AIIdefense attorneyshave a rightto thisinform ation and so do the
 Am erican People.

 lfM uellerobtained the guilty pleaswith Poisoned Fruitthen aIIprosecutionsand convictionswillbe
 tainted and thusthrow n out.

 M uellerhasa historyofprosecutorialm isconduct.The indictment,plea agreem entand statementof
 offense are aIIriddled with poisoned fruit.M ueller'sarrogance isunbelievable.Sim ple comm on sense
 tellsyou thatsom ething isvery,very wrong.

 Lt.GeneralM ichalFlynn ishaving a private conversation withthe Russian Am bassador.Here isthe
 ConstitutionalQuestion.Did Flynn have a presum ption ofprivacy?How did M uellercom e by the
 evidence thathe needed to force Flynn to acceptthe plea deal?W asitthe FBI,NSA,etc.who provided
 theelectronic recording?The Am bassadorhasdiplom atic im m unity and in essence isnotgoverned by
 ourlaws.W hatkind ofinvestigation washe under.There was no way he could everbe prosecuted so
 why washisconversation w ith Flynn being recorded?M uelleradmitsthathe did notknow atthetim e
 ofFlynn'sinterview thatFlynn Iied.How do yousuppose hedevel   oped thatinform ation?Anything
 besidesan electronic recording would be hearsayand an electronicrecording w ithouta warrantwould
 be illegal.Thiscould be considered entrapment.Itremindsm eoftheScooterLibby case,eventhe
 com m uting ofhissentence.Libbydid nothing wrong.

 W hy wasPresidentElectTrum p notinformed ofthe Russian investigation?The transgressionsofFlynn
 and Papadopouloshappened aftertheelection.ThisisamajorConstitutionalissuewhichneedsto be
 addressed.

 A PresidentElectstartsto callworld leadersthe day he iselected.Do you see the problem ?

 During the cam paign both parties held talksw ith otherworld Ieaders.lbelieve both travelabroad.

                                   PrecedentCases(A smallsample)
 PressEnterprise v.SuperiorCourt:Accessto Crim inalProceedinls.FirstAm endmentand Com mon Law
 guaranteethe public's riRhtofaccessto crim inaliudicialproceedinas.
 Nixon v.W arnerCom munications:The courts recognize the public's riaht to inspect and copv iudicial
 records.
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 17 of 49



 W ashington Postv.Robinson:The public hasan unquestionable riRhtto information reMardinM alleRed
 prosecutor m isconduct. The term is ''alleRed''. There is no doubt the Federal prosecutors have
 com m itted crim inalacts.
 Leucadia v.Applied ExtrusionsTechnologies:Access
 Belo Broadcasting v.Clark:Access
 Globe New spaperv.Superior:The riahtofthe publicto monitorthe Rovernmentbv havin: access.
 Richm ond Newspaperv.Virginia:W ithoutpublicitv,aIIotherchecksare insufficient.
 ValleyBroadcastingv.United StatesDistrictCourt:FederalW histleblowers,M ilitarvOfficersylournalists.
 etc.plav an indispensable role in Ratherina and dissem inatinR inform ation to the public.
 LandmarkCom m unicationsv.Virginia:To guard aaainstthe m iscarriale ofiustice.To stop prosecutor
 m isconductbefore,durinl and after.
 Cox Broadcastingv.Cohn:M v pleadingsw illauarantee a fairtrial.
 Pansyv.Stroudsburg:Third parties have a rilhtto intervene.
 In re Associated Press162 F.3d 503,507 7th Circuit1998,Grove Fresh Distributorsv.EverFreshJuice,Beef
 Industry Antitrust Litigation 589 F.2d 786,789 5th Circuit,United States v. Andreas, United States v.
 Corbitt,United Statesv.Chaagra,United Statesv.Lohman,M arcusv.St.Tam m any Parish SchoolBoard,
 United Statesv.Cleveland,United Statesv.Davis,Uni   ted Statesv.Carolllo and Ford M otorBronco 11M DL

 The DanzigerCivilRightsCase in New OrleansafterHurricane Katrina. The Departm entofJustice had an
 electronic recording ofwhattook place on the Danziger Bridge thatday.The agreement between the
 defendantsand prosecution wasthatthe electronicrecording would notbe used and in exchange there
 would be no death penalty.The DOJwanted acoverup conviction and notam urderconviction.Theywere
 hoping thatthe policemen would get6 - 8 yearsforthe cover-up and notthe 65-yearprison sentences
 thattheygot.God worked in avery mysteriousway andgavethe DOJaW orld SeriesW inningGrand Slam .
 FBIDirectorRobert M ueller hedged hisbetand assigned a two-year,non-investigator,to the case.The
 agentwas convincing and becam e m ore convincing when he Iied on the witness stand.This becom es
 exponentially m ore com plicated because of the following:the US Navy was at the Danziger Bridge
 conducting illegaloperationalm issions within the United States.Am erican Sniper Chris Kyle actually
 bragged aboutm urdering Americansin New Orleans.SEALTeam 22from the StennisSpace Center, north
 ofNew Orleanson the PearlRiver,comm itted genocide againstourfellow Americansin violation ofthe
 Constitution andthe PosseAct.ltwasM ueller'sagentsthatwereinstrum entalin covering up the m urders.

 Attachm ent1:DC DistrictCourtJudge Am y B.Jackson denied my Notice ofAppealthatIfiled with the
 United StatesCourtofAppealsforthe DistrictofColum bia.How can a DistrictCourtJudge deny an
 Appellate CourtPleading? How did JudgeJacksoneven getthe Notice ofAppeal?
 Attachment2:DC DistrictCourtJudge Amy B.Jackson denied my Notice ofAppeal.

 Reference Attachm ent3:Judge Jackson states:''he mustseekitfrom the CourtofAppealsbyfiling an
 appealofthoserulings.Signed byJudgeAmyBermanJacksonon11/29/17.(DMK)(Entered:
 11/29/2017)''How can IseekreliefifshedeniesmyConstitutionalRighttoAppeal?

 Filedinthe Manafort/Gatescase.Listedinreverseorder.OtherFederalDistrictCourtandAppealCourts
 have docketed these pleadings.
 Attachment3:DocketCorrection in the InterestofJustice.
 Attachment4:FriendoftheCourtBrief/AmicusBrief/Appeal/Memorandum inSupportofMotionto
 lntervene.
 Attachm ent5:Notice ofAppeal
 Attachm ent6:M otion forReconsideration
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 18 of 49



  Attachm ent7:M otion to lntervene




  Godspeed

  Sincerely,

  David Andrew Christenson
  Box 9063
  M iramarBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ gm ail.com
  dchristenson6l hotm ail.com

                                        CERTIFICATEOFSERVICE
        Ihereby certify thaton Decem ber1St,2017 Ifiled the foregoing with the ClerkofCourtand
                served the pleading on aIIcounselofrecord by e-mailand first-classm ail.


                                       David Andrew Christenson
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 19 of 49



                                    U NITED STATES DISTRICT CO URT
                                      THE DISTRICT OFCOLUM BIA

  United StatesofAm erica                                      Crim inalDocketNo.1:17-cr-232

                                                               Judge Rudolph Contreras

  M ichaelT.Flynn
  Defendant

                SupplementalMotionto Intervene/FriendoftheCourtBrief/AmicusBrief
  lhave been warning you aboutthisforyears.The criminalactivity bythe Departm entofJustice in New
  Orleansduring and afterHurricane Katrina hasspread.

  M UELLER IS POISONOUS FRUIT FROM A POISONOUS TREE.(FBIAaentW illiam Bezak wastrained bv
  M uellerand Iook atw hathe did.M uellerwasin directcontrolofthe Danziaerand Glover
  investications-)

 THE AM ERICAN PEOPLE DESERVEBEU ER.Thev deserve the truth and iustice.

 M ath and time willexpose the truth,the crimesand the Genocide ofM ankind.There isno escape.
 Trum p isa rabid dog and he willdo whateverittakesto save him self.

 The FederalJudiciary hasfailed to protectthe Constitution and thusthe Am erican People.

                                   W here there issmokethere isfire.
                      The spotlightisconstantly being m oved away from the truth.
                         The cover-up accelerates,exponentially,in itsgrowth.

 House intelcom m ittee threatensDOJ,FBIwith contemptin Russiaelection meddling probe
 ByAndrea Noble -The W ashington Tim es-Sunday,Decem ber3,2017
 https://www.washingtontimes.com/news/zol7/dec/3/house-intel-committee-threatens-doe
                                                                                   l-fbi-with-
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 House Republicanscould drafta resolution to hold Deputy Attorney GeneralRod Rosenstein and FBI
 DirectorChristopherW ray in contem ptofCongressassoon asM ondayforfailure to turn over
 documentssoughtaspartofan intelligence com m ittee investigation.
 The m ove comesafterw hatHouse Perm anentSelectCom m ittee on Intelligence Chairm an Devin Nunes
 describesasmonthsofstonewalling on the partofthe Justice Departmentand the FBIashispanel
 soughtaccessto records related to federalinvesti gators'use ofthe salaciousTrum p dossiercompiled by
 Britishex-spy ChristopherSteele.
 M r.Nunessaid the agenciessuddenly becam e more forthcom ingwith som e inform ation when itwas
 reported overthe weekend thatspecialcounselRobertM uellerhad removed one ofthe FBI'stop
 Russian counterintelligence investigatorsfrom histeam afteran internalprobe found the agenthad sent
 m essagesthatshowed possible biasforHillaryClinton and againstPresidentTrum p.
 According to the specialcounsel'soffice,PeterStrzok,who Ied the investigation ofM rs.Clinton'sem ail
 serverin 2016,leftthe specialcounsel'steam Iastsum mer.He sentthe textmessagesto Lisa Page,an
 FBlIawyerwho also Ieftthe M uellerinvestigationthis pastsum mer.
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 20 of 49




  Do vou reallv believe thatM uellerrem oved atop aid overa textm essage? NOT A CHANCE IN HELL.
  THE DOJDID NOT REM OVETHE US AU ORNEYS THAT POSTED COM M ENTS ON THE W ORLD W IDEW EB
  AND INTERNET THAT SW AYED PUBLIC OPINION AND FEDERALIUDGESII!Aske Judae KurtEngelhardt.

  M uellerRemoved Top Agentin Russia Inquiry OverPossible Anti-Trum p Texts
  By M ICHAELS.SCHM IDT,M ATT APUZZO and ADAM GOLDM ANDEC.2,2017
  https://www.nvtimes.com/zol7/lz/oz/us/politics/mueller-removed-top-fbi-acent-over-possible-anti-
  trum n-texts.htm l
  W ASHINGTON - The specialcounsel,RobertS.M ueller111,removed a top F.B.I.agentthissum m erfrom
  his investigation into Russian election meddling afterthe Justice Department's inspectorgeneralbegan
  exam iningw hetherthe agenthad senttextmessagesthatexpressed anti-Trum p politicalviews,according
  to three people briefed onthe matter.
  The agent,PeterStrzok,isconsidered one ofthe m ostexperienced and trusted F.B.I.counterintelligence
  investigators.He helped lead the investigation into w hether Hillary Clinton had m ishandled classified
  information on herprivate emailaccount,and then played a majorrole in the investigation into links
  between PresidentTrum p'scam pai  gn and Russia.
  But M r.Strzok was reassigned this sum mer from M r.M ueller's investigation to the F.B.I.'s hum an
  resources department,w here he has been stationed since.The people briefed on the case said the
  transferfollowed the discovery oftext messages in w hich M r.Strzok and a colleague reacted to news
  events,like presidentialdebates,in waysthatcould appearcriticalofM r.Trum p.

  New Orleansisatthe centerofa key federalpursuit
  Updated on August8,2011at11:34 AM Posted onAugust8,2011at11:00 AM
  By Brendan M ccarthy,The Times-picayune
  http://www.nola.com/crime/index.ssf/zoll/o8/new orleans is at the center o.html
  ln January 2009,Bernstein team ed withagentsfrom the IocalFBloffice.They held a voluntary interview
  with NOPD Sgt.Arthur Kaufm an,who had handled the police investigation.He offered a narrative of
  eventsthatseem ed to clash with the facts,raising red flagswith W illiam Bezak,a young FBlagentwho
  had been nam ed Iead investigator.
  Bezak wasa mechanicalengineerby trade who before joining the FB1had helped testand fine-tune
  militaw helicopters.The New Jersey native'sfirstposting outofthe academy in sum m er2006 wasNew
  Orleans.He waschosen forthe Danzigercase because he wasyoung,energeticand highly organized,his
  boss,W elker recalled.And,perhaps m ost im portant,Bezak had no allegiances to anyone in Iocal1aw
  enforcem ent;he knew no NOPD officers.He had onlya ''veryvague''understandingofthe shooting when
  he began.

  RULEOF LAW
  Trum pCourtNom inee Upheld RightsofPolice AgainstHolderDOJM isconduct
  BY J.CHRISTIAN ADAM SSEPTEM BER 29,2017
  https://n'
           lmedia.com/'
                      lchristianadams/zol7/og/zg/trump-court-nominee-defended-riqhts-nolice-
  holder-doi-misconduct/
  President Trum p has nom inated a slate of solid picks for the federalbench, including a new Iist of
  nomineestbisweek.Am ong them is KurtD.Engelhardt.Trump nom inated Engelhardtto the Fifth Circuit
  Court ofAppeals,a district thatcovers the area from Alabam a to the Rio Grande.Engelhardt already
  servesasa United StatesDistrictCourtjudge in New Orleans.Engelhardtwillbe familiarto PJ Media
  readers.Heisthejudgewhowroteascathing 129-pageorderblisteringthemisconductoflawyersatthe
  Justice Departm ent'sCivilRightsDivision and the IocalNew OrleansU.S.Attorney'sOffice in a prosecution
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 21 of 49



  ofNew Orleanspolice officers.Hisorderoffersa Iookbehind the curtainofsome ofthe worstideological
  m isconductthatoccurred atthe Obama DOJ.M isconduct may be an inadequate word to describe the
  behaviorof DOJIawyers,and Engelhardtsaw it alIup close.See PJ M edia's''Justice Dept.Lawyer Karla
   Dobinski's M isconduct Sends Cops to Prisonz'' or Hans von Spakovsky w riting at National Review:
  ''Grotesque DOJ M isconduct''.Engelhardt reserved som e of his strongestIanguage to criticize w hat he
  called ''shockingly coercive tactics'
                                      'ofBezak in approaching a potentialdefense w i
                                                                                   tness,officerHeather
  Gore.Citing Bezak'stestim ony,Engelhardtrecounted how the FBIagentfirstIooked forGore atherhom e,
  and found herIaterat a police station.There,Bezak told Gore thatshe had a nice house,asked about
  Gore'stripletdaughtersand ''advised she would be deprived ofthem asa resultofherlying.''
   Engelhardtthen challenged Bezek'sstrong-arm tactics,noting thatGore hasnot been charged with any
  crime.Thejudge also said atleastthree witnessesdefendantscalled attrial''refused to appearunder
  threatsfrom (the DepartmentofJustice)thattheywould be prosecutedforperjury asa resultoftheir
  earliergrandjurytestimony.''Thejudge said ''twenty-sixmonthsIater,notone ofthesethree defense
  wi tnesses has been charged with any crim e whatsoever.''M osca said aIIthese assertions, and the
  established record of prosecutorialm isconduct,could prom pt defense attorneys to depose aIIthese
  w itnesses to see if their testim ony, or alternatively their decisions not to testify, was a result of
  government coercion. Danziger Bridge Trialnews leaves residents questioning the justice system
  Yesterday,U.S.District Judge Kurt Engelhardt granted a new trialforfive form er New Orleans Police
  Department officers convicted in the Danziger Bridge shooting and the subsequent cover-up. M any
  residents are feeling deprived ofjustice afterhearing the news.''They can also callthose defense
  w itnessesbackand they can requestim m unityforthem so they would notbe afraid to testify thistim ez''
  M oscasaid.Clarke noted thatEngelhardtalso criticizedw hathe perceived to be Ienientdealsgovernment
  witnessesgot.That'spartofthe criminaljustice system,he said,whichgi
                                                                    vesprosecutors''tremendous
  power''tooffersuchdeals.'Butthere'sadangerinthistypeofsystem ,thatpeople--ontheirownvolition
  orthrough coercion --offerfalse testim ony to help themselves.Prosecutorsalwayshave to be skeptical
  ofw hatthey'retold by people Iookingforadeal  ,'Clarke said.''Certainlythe defense isgoingto tryto use
  what'swritten(intheorder)totrytogetevidencethrownout.They'llarguetestimonyistainted.''


  Godspeed

  Sincerely,

  David Andrew Christenson
  Box9063
  M iram arBeach,Florida 32550
  504-715-3086
  davidandrewchristensonl gm ail.com
  dchristenson6@ hotm ail.com

                                        CERTIFICATEOFSERVICE
        Ihereby certify thaton Decem ber4th,2017 lfiled the foregoing withthe ClerkofCourtand
                served the pleading on alIcounselofrecord bye-m ailand first-classm ail.


                                        David Andrew Christenson
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 Judge Rudolph ''Rudy''Contreras                                              Decem ber1St#2017
 DC DistrictCourt
 333 ConstitutionAve.NW
 W ashington,DC 20001

  Judge Contreras,

  How many otherFederalW histleblowershave been silenced by SpecialCounselRobertM ueller.The
  costforM ueller'scrim inaltransgressionswillbe theGenocide ofM ankind.Thisisnota prophecy or
  predictionbuta mathematicalcertainty.Thisoneinstance (seeattachment)describesmyIifeina
  nutshell.(1know thedocumentisdisjointedand incoherentbutIwasnevertrainedforthis.)Atone
  pointin time Ihad 750 videos,each withan individualaddress,Facebook,A website,m ultiple Tw itter
  accounts,etc.on the internetand allbave been rem oved by the FBI.Allofmy socialm edia accounts
  have been deleted.YouTube stood by m e foryearsuntilthe pressure from FBIDirectorRobertM ueller
  became to great.Ourgovernm enthaserased me from history.W illvou erase me from historv? lknow 1
  havew ritten some sensationaldocum entsbutIdid so in hopesthatIcould help to save M ankind by
  opening people'seyes.Ipassed the security background checkon M arch 29th#2013.The Ietterbarring
  me forIife wasdated M ay 7th#2013.

  FB1DirectorRobertM uellerwasincensed thatIwasgiven a security clearance.Hew asIi
                                                                                 vid thatlpassed
  an FBIbackgroundcheck.J'/Genera/M ikeGould(Superintendentofthe UnitedStatesAirForceAcademy,
  myex-footballcoach andfriend)ranthejollowinqbuckqroundchecksonme.IhavebeenapprovedjorJ
  security badge to enterthe,an active m ilitary installation,UnitedStatesAirForceAcodemy.He had m e
 jilloutaUSAFAform 126.Theapprovalcamewith48hoursofreceipt.IhavetothankGeneralM ike
 Gouldjorstickinghisneckoutforme.IquesshehashonoredhisOath to theConstitutionasbesthe
  could.
 DepartmentofDefense(0002,ColoradoCrimeInformation Center(CCIC),NationalCrimeInformation
 Center(NCIQ,DefenseSecurityService(DSS),NationalInstantCriminalBackground CheckSystem
 (NICSI''
 lhavebeen clearedofallofthejollowingpertheF8/andtheaboveagencies:(An explanation willbe
 forthcominq)''Thereare14personsfiles,includinq.SupervisedRelease;NationalSexOffenderReqistry;
 Foreiqn Fugitive;Immiqration Violator;MissinqPerson;ProtectionOrder;Unidentl
                                                                            hedPerson;U.S.
  SecretService Protective;Ganq;Known orAppropriatelySuspected Terrorist;W anted Person;Identity
  Theft;ViolentPerson;andNationalInstantCriminalBackqround CheckSystem (NICS)Denied
  Transaction.''
               )
  Godspeed.

  Sincerely,

  David Andrew Christenson
  P.O .Box9063
  M iramarBeach,Florida 32550
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  davidandrewchristenson@ cmail.com
  dchristenson6l hotmail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 23 of 49



                                    UNI
                                      TED STATES DISTRICT COURT
                                     THE DISTRICT O FCO LUM BIA

  United StatesofAm erica                                      Crim inalDocketNo.1:17-cr-232

                                                               Judge Em metG.Sullivan

  M ichaelT.Flynn
  Defendant

                                           Notice ofAppeal
                                         Decem ber15th# 2017

  Docketentries11,12 and 13 filed on Decem ber13th 2017.

 ArticlesofImpeachmenthave been filed againstNixon,Reagan,H.Bush,Clinton,W .Bush,Obama and
 Trum p.This isthe norm thatyoucreated.W .Bush tookusto warwith two Iies.Ouryoung soldiers,our
 youngAm ericans,died and were permanentlym aimed both physicaland m entally.Itcostustrillionsof
 dollarsand yetwe,the greatestnation inthe world,can'tprovide health care to ourpeople. Bush
 succeeded in taking usto warbecause ofcensorship by the FederalJudiciary.

 The perfectexam ple ofthe failure ofourFederalJudiciary isthe PresidentialSigning Statem ent. The
 FederalJudiciary hasabrogated theirresponsibilityto the Constitution and thusthe American People.

 Ourgovernm ent,you,continue to pushthe pendulum .W hen itswings,itw illswing with suchforce that
 Americanswilltake up arm sagainsttheirfellow Am ericans.The United StatesofAm erica willnot
 survivethe Im peachm entofTrum p.The United StatesofAm erica willnotsurvive with RobertM ueller
 asSpecialProsecutor.

 AllIasked wasto be heard in accordance w ith the Constitution (FirstAm endm entIastsentence:and
 to petition the Governm entfora redressofRrievances)so thatm vfellow Americanscould make
 educated decisions.M v M otionsto Intervene become M ootw hen publiclv docketed.ThisAppeal
 becomesM ootifmv three M otionsto lntervene are publiclv docketed in theirentiretv.

 Iswhatyou are protecting so im portantthatvou mustm aliciouslv,elregiouslv and intentionallv
 destrov ourEonstitution?Ourchildren (soldierslhave died to orotectthe Constitution.lustw hatthe
 hellare vou protectinM and isitso im portantthatvou w illsacrificevourchildren forit?

 M ywordshave become so dangerousthatthe 5thcircuitCourtofAppealsdism issed one ofmy appeals
 because Idid notordera nonexistenttranscriptfrom a nonexistentcourtreporterfora nonexistent
 hearing.(5thcircuitCase:17-30831Document:00514258539Page:1DateFiled:12/04/2017andCase:
 17-30831Document:00514268351Page:1Date Filed:12/11/2017)

       Review theDeclarationofIndependenceandsubstitutethewordPresidentforKing/prince.
                         Notice the failure oftheJudiciary.Itisthe sam e today.
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  ''In every stage ofthese OppressionsW e have Petitioned forRedressin the mosthumbleterms:Our
  repeatedPetitionshave beenansweredonlybyrepeatedinjury.A Prince,whosecharacteristhus
  marked by every actwhich maydefine aTyrant,isunfitto bethe rulerofafree people.''

                                      PrecedentCases(A smallsample)
  PressEnterprise v.SuperiorCourt:Accessto Crim inalProceedinMs.FirstAm endmentand Com mon Law
  guarantee the public's richtofaccessto crim inaliudicialproceedinMs.
  Nixon v.W arnerCom m unications:The courts recoanize the public's riRhtto inspect and copv iudicial
  records.
  W ashington Postv.Robinson:The public hasan unquestionable rilhtto information relardinl alleged
  prosecutor m isconduct. The term is ''alleRed''. There is no doubt the Federal prosecutors have
  com m itted criminalacts.
  Leucadia v.Applied ExtrusionsTechnologies:Access
  Belo Broadcastingv.Clark:Access
  Globe Newspaperv.Superior:The richtofthe publicto m onitorthe Rovernm entbv havinR access.
  Richm ond New spaperv.Virginia:W ithoutpublicitv,alIotherchecksare insufficient.
  Valley Broadcasting v.United StatesDistrictCourt:FederalW histleblowers,M ilitarvOfficers,Journalists,
  etc.plav an indispensable role in catherina and dissem inatina inform ation to the public.
  Landmark Com m unications v.Virginia:To Ruard aRainstthe m iscarriaRe of iustice.To stop prosecutor
  m isconductbefore,durinc and after.
  Cox Broadcasting v.Cohn:M v pleadinlswillRuaranteea fairtrial.
  Pansyv.Stroudsburg:Third partieshave a riRhtto intervene.
  ln reAssociated Press162 F.3d 503,507 7thCircuit1998,Grove Fresh Distributorsv.EverFreshJuice,Beef
  Industry Antitrust Litigation 589 F.2d 786,789 5th Circui t? United States v.Andreas,United States v.
  Corbitt,United Statesv.Chaagra,United Statesv.Lohm an,M arcusv.St.Tam many Parish SchoolBoard,
  United Statesv.Cleveland,Uni   ted Statesv.Davis,United Statesv.Carolllo and Ford M otorBronco 11M DL


  Godspeed

 Sincerely,


 David Andrew Christenson
 Box 9063
 M iramarBeach,Florida32550
 504-715-3086
 davidandrewchristenson@ cm ailacom
 dchristenson6@ hotmail.com
       '
                                            CERTIFICATEO FSERVICE
           lhereby certify thaton Decem ber15tb;2017 lfiled the foregoing w ith theClerkofCourtand
                    served the pleading on aIIcounselofrecord by e-mailand first-classmail.


                                          David Andrew Christenson
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 25 of 49



  '

  JudgeSullivan,
  M arch 15t#2018

  Here are two exam plesofcensorship and violationsofthe Constitution.

  16tpage isa docketentw thatwasrem oved by Judge Sullivan.

  2ndand 3rdpagesare CourtListenerwebsite pagesthatduplicate Pacer.Notice there isno description of
  the three entrieson February 22nd#2018. The entriespertainto m e and my pleadings.

  4thpage isa copy ofthe courtrecord thatison Pacer. Doesthe DOJcontrolCourtListener?

  Thisisthe m onsterthatIam fighting.The Executive Branch controleverything and they are destroying
  each otherand w ith itthe United StatesofAm erica.




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 JudRe,
 DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
 EVDC:Judge:T.S.Ellis1II
 5thJudgesand Clerk:C.Stewart,P.Higginbotham and Clerk L.Cayce
 EDLA:Judge G.Berrigan
 M arch 7th# 2018

                                               Epiphany

  TheFederalJudiciarvisnotindependent.Myworldcamecrashingdownin2004 whenIrealizedthat
  the FederalJudiciary iscontrolled by the DOJ.My oath wastaken to protectyou and the Judiciary.Iam
  notthe enemy.Iam here to help youthrow offthe shacklesofservitude.Iam here to help you reclaim
  yourindependence.

  Icould neverunderstand the arrogance ofthe DOJand the US M arshalService.Theyow nyou Iike you
  were slaves.Youdo whatyou are told withinthe param etersthatare Iaid down foryou.Carefully read
  the attachmentsfrom 2004 and 2005.

  Ibegyou to stand up forthe Constitution.Ifyou don'ttime and math w illconfirm the genocide of
  m ankind.

  Inow understand why ChiefJusticeJohn Robertsapproved Obamacare.Inow understand why Judge
  Engelhardtrefused to disclosethe existence ofthe DVD showing the US M ilitary m urdering Americansin
  the Danzigercase.Inow understand w hyJudge Berrigan gave M ayorNagin a lo-yearprison sentence
  instead ofIonger.She knew he wasinnocentand the lo-yearsentence all   owed him to go to acam p.I
  now understand w hy Judge E.Sullivan did notdo m ore in the SenatorTed Stevenscase,he knew that
  prosecutorm isconductwastaking place and he knowsthatitistaking place in the Flynn case.W hat
  aboutScooterLibby and Judge R.W alton? 4could on and on.

  Thisiswhy Ihave filed so m any M otionsto Intervene.The Pacerattachmentisfrom 2016 and Ihave
  filed moreMotions.Eachandeveryjudgehasturned medown.Manywereclassactioncomplaints
  w here Ihad cause and standing.The m ostrecentoneswere in the EDLA and Iabsolutely had cause and
  standing.

  Godspeed
  Sincerely,


  David Andrew Christenson
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  M iram arBeach,Florida 32550
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  davidandrewchristenson@ gm ail.com dchristenson6@ hotm ail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 27 of 49



     Judae.

     DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
     EVDC:Judge:T.S.EllisIII
     5thJudgesand Clerk:C.Stewart,P.Higginbotham and Clerk L.Cayce
     EDLA:Judge G.Berrigan
 '

     M arch 7tb; 2018

     GeneralM ike Flynn hasplead guilty so thathischildren are notcharged with acrim e.He was
     blackm ailed into pleading guilty.

     Hecalled methismorning.(GeneralMike Flynn-03/07/2018-910-273-825010:02minutes@ 08:43
     AM)HedidnotdivulgewhatIam sharingwithyou.TheDOJdidthesamethingwith MayorRayNagin.
     (AskJudge Berriganfrom theEDLA)Lookathow theDOJtreatedScooterLibby.

     See the attached docketentrythathasbeen removed from the record.Review the discovery orders.
     Since when do we have discoveryordersin caseswhere the defendanthasalready plead guilty?

     Flynn isa Three StarGeneraland he wasscared to death.W hy? He wason adrenaline overload.He
     plead guilty to m aking ''false statements''He mightgo to a prison cam p forayearortw o.The inflection
     inhisvoicewasthathe plead guiltyto a capitaloffense and he wasreceiving a death sentence.The
     newstoday said he wasselling hishouse to pay hislegalbills.W hy doeshe have Iegalbillsifhe plead
     guilty? Something isvery wrong.

     Ican relate to him.W hen you realizethateverythingyoufoughtto protectdoesnotexistitis
     devastating.There isno Constitution and no rule ofIaw.

     The FederalJudiciary allowed FederalW histleblowerCoastGuard Comm anderto be strapped to a
     w heelchairand tased while in FederalCourt.He wasm urdered while incustody.The DOJsaid he stuffed
     toiletpaperdow n histhroat.Iwasin thatcellsix monthsearlierand there isno toiletand no toilet
     Paper.


     Godspeed
     Sincerely,


     David Andrew Christenson
     Box9063
     M iramarBeach,Florida 32550
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     davidandrewchristenson@ amail.com dchristenson6@ hotmail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 28 of 49




     JudRe A.Jackson,
 '

     DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
     EVDC:Judge:T.S.EllisIII
     5thJudgesand Clerk:C.Stewart,P.Higginbotham and Clerk L.Cayce
     EDLA:Judge G.Berrigan
     M arch 8th; 2018

     M athem atically M ankind w illcease to existinthe next32 years.You don'tbelieve me and you don't
     wantto believe me so you censorm e.By censoring me you make a decision on behalfofeveryAm erican
     and you denythem theirConstitutionalRights.

     W here do Am ericansgetthetruth? EveryJudge hasstated thatthe FederalCourtRecord isnotthe
     place.Idisagree.Iconsidermy pleadingsto begrievancesthatare filed againstthe governm entin
     accordancewiththeConstitution/FirstAmendment/LastSentence:''andtopetitiontheGovernmentfor
     a redressofgrievances.''

     Ihaveattached a New YorkTimesEditorialabouttheirown failuresin reportingthe newsduring the
     run-upto PresidentGeorgeW .Bush'sinvasionofIraq.Thereweretwo majorfrauds.1.Therewere no
     W eaponsofM assDestruction.2.AIQaeda wasnotin lraq.

     THE NEW YORK TIM ES QUIBBLES ABOUT THEIR M ISTAKES AND NEVERTAKES FULLRESPONSIBILIW AND
     M OST IM PORTANTLY THEY NEVER TRULY APOLOGIZE FOR THEIR INTENTIONAL,EGREGIOUS AND
     M ALICIO US M ISTAKES W HICH W ERE FO R PROFIT.AND YES,THENEW YO RKTIM ES PRO FITED
     HA NDSO M ELY.

     W e spentand willcontinue to spend trillionsofdollarson a fraudulentwar.W e have IostIivesand will
     continue to Iose Iives.Oursoldiershave suffered terrible and we have allow ed thatw ith no
     repercussions.

     Itookanoath to protectthiscountry and you.Idid nottake a ''forprofitoath''.W hatbothersme m ost
     isthatyou censorme and bydoing so you are censoring aIlAmericansand thatincludesyourself.M y
     being wrong isnotthe point.W e m usthave an honestdialogue.M yintentionsare desi gned to save
     M ankind.

     ltwasyou thatallowed the second Iraqiwar.You silenced and censored Americansand the resultis
     catastrophic.The catastrophe ism ore thanthe usspending trillionsofdollarsorlosingthousandsof
     Iives,itisthecensorship.

     Here isastoryabouthow the 'forprofit''m edia controlsthe nationaldialogue.You protectthem and
     you harm m e.
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 Rem em berwe are the country thathad the ''petrock''.

 ''W e are standing knee deep in a riverand we are dying ofthirst.'' Bob M cDill,Dickey Lee and Bucky
 Jones

 Here are slogansfrom the ''forprofitd':
 tjc-o-x
       ----
         Ne
          --
           .w-4,isjustasbad.Itjustso happensthatlgetm ultipIeemaiIsfrom theNew YorkTimesevery
 day.Idisdainboth newsorganizations.)


 ZielthyN.arkzimes
 The Tim es Sale ends today,butthere's stilltim e to m ake a
 statem entaboutw hat's im podantto you.Ifyou value
 obiective renodinn in service oftruth,then subscribe to
 The Tim es and help us ensure itcontinues.Indenendent
 iournalism needs suppoders like you,and the Tim es Sale is the perfecttim e to
 stad.


               Help Tim es journalists uncover
                               the next big sto ry.
 Journalism w ithoutfearorfavor.
 Every story.Everyw here.
 Quality coverage ofIife's beststuff.
 You make ourjournalism possible.Today,wesay thanks.
 The truth has a voice


 W O RLD       FRO M TH E ED ITO RS
 F R O M TH E E D IT O M                                    ; T h e T im es a n d
 Ira q
 M AY 26,2004

             Overthelastyearthisnewspaperhasshone thebrightlightofhindsighton
             decisionsthat1ed the United Statesinto Iraq.W ehave exam ined thefailings
             ofAm erican and allied intelligence,especially on theissue oflraq'sw eapons
             and possible Iraqiconnectionsto internationalterrorists.W e have studied
             the allegationsofofficialgullibility and hype.ltispasttim ew eturned the
             sam elighton ourselves.
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           ln doing so --review ing hundredsofarticleswritten during the preludeto
           warand into theearly stagesofthe occupation --w efound an enorm ous
           am ountofjournalism thatweareproud of.In m ostcases,whatwereported
          w asan accuratereflection ofthe stateofourknowledgeatthetim e,m uch of
          itpainstakingly extracted from intelligenceagenciesthatw ere them selves
          dependenton sketchy inform ation.And wherethose articlesincluded
          incom pleteinform ation orpointed in awrong direction,they werelater
          overtaken by m ore and strongerinform ation.Thatishow newscoverage
          norm ally unfolds.
          Butw ehavefound a num berofinstancesofcoverage thatwas notas rigorous
          asitshould havebeen.ln som e cases,inform ation thatwas controversial
          then,and seem squestionable now,wasinsufficiently qualified orallowed to
          stand unchallenged.Looking back,wewish w ehad been m ore aggressivein
          re-exam ining theclaim s asnew evidenceem erged --orfailed to em erge.

          Theproblem aticarticlesvaried in authorship and subjectm atter,butm any
          shared a com m on feature.They depended atleastin parton inform ation
          from a circleofIraqiinform ants,defectorsand exilesbenton ''regim e
          change''in Iraq,people whosecredibilityhascom e underincreasing public
           debatein recentweeks.(Them ostprominentoftheanti-saddam
          cam paigners,Ahm ad Chalabi,hasbeen nam ed asan occasionalsource in
          Tim esarticlessince atleast1991,and hasintroduced reportersto other
          exiles.H ebecam e a favorite ofhard-linersw ithin the Bush adm inistration
          and a paid brokerofinform ation from Iraqiexiles,untilhispap nentswere
          cutofflastweek.)Com plicatingmattersforjournalists,theaccountsofthese
          exileswere often eagerly confirm ed by United Statesofficialsconvinced ofthe
          need to intervene in lraq.Adm inistration officialsnow acknowledgethatthey
          som etim esfellform isinform ation from theseexile sources.So did m any
          newsorganizations--in particular,thisone.
          Som e critics ofourcoverage during thattim e havefocused blam e on
          individualreporters.Ourexam ination,however,indicatesthatthe problem
          wasm ore com plicated.Editorsatseverallevelswho should have been
          challenging reportersand pressing form ore skepticism w ere perhapstoo
          intenton rushing scoopsinto thepaper.Accounts ofIraqidefectorsw ere not
          alw aysw eighed againsttheirstrong desireto haveSaddam H ussein ousted.
          Articlesbased on dire claim s aboutIraq tended to getprom inentdisplay,
          whilefollow-up articlesthatcalled theoriginalonesinto question were
          som etim esburied.In som e cases,therew asno follow -up atall.
          On Oct.26 and N ov.8,zool,forexam ple,Page 1articlescited Iraqidefectors
          who described a secretlraqicam p where Islam icterroristsweretrained and
          biologicalweaponsproduced.These accountshave neverbeen independently
          verified.
          On Dec.2o,zool,anotherfront-page articlebegan,''An lraqidefectorwho
          described him selfasa civilengineersaid he personally worked on
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          renovationsofsecretfacilitiesforbiological,chem icaland nuclearw eaponsin
          underground wells,privatevillasand underthe Saddam Hussein H ospitalin
          Baghdad asrecently as ayearago.''KnightRidderN ewspapersreported last
          week thatAm erican officialstook thatdefector--hisnam eisAdnan Ihsan
          Saeed al-l-laideri--to lraq earlierthisyearto pointoutthe siteswherehe
          claim ed to haveworked,and thatthe officialsfailed to find evidenceoftheir
          useforweaponsprogram s.ltisstillpossible thatchem icalorbiological
          w eaponsw illbeunearthed in Iraq,butin thiscase itlooksasifwe,alongw ith
          the adm inistration,weretaken in.And untilnow w ehave notreported thatto
          ourreaders.
           On Sept.8,2oo2,thelead articleofthepaperw asheadlined ''U.S.Says
           Hussein Intensified QuestforA-Bomb Parts.''Thatreportconcernedthe
           alum inum tubesthatthe adm inistration advertised insistently ascom ponents
           forthem anufacture ofnuclearw eaponsfuel.The claim cam e notfrom
           defectorsbutfrom the bestAm erican intelligence sourcesavailable atthe
           tim e.Still,itshould havebeen presented m ore cautiously.There werehints
           thattheusefulnessofthetubesin m aking nuclearfuelw asnota surething,
           butthe hintswereburied deep,1,700 w ordsinto a 3,6oo-word article.
           Adm inistration officialsw ere allowed to hold forth atlength on why this
           evidence ofIraq'snuclearintentionsdem anded thatSaddam Hussein be
           dislodged from power:''The firstsign ofa 'sm oking gunp'they argue,m ay bea
           m ushroom cloud.''
           Five dayslater,the Tim esreporterslearned thatthe tubesw ere in facta
           subjectofdebateam ongintelligenceagencies.Themisgivingsappeared deep
           in an article on PageA13,undera headlinethatgaveno inkling thatw ewere
           revisingourearlierview (''W hiteHouseListsIraq StepstoBuild Banned
           W eapons'').TheTim esgavevoicetoskepticsofthetubeson Jan.9,when the
           key piece ofevidence waschallenged by the InternationalAtom icEnergy
           Agency.Thatchallengewasreported on PageAlo;itm ightw ellhave
           belonged on Page A1.
           On April21,2003,asAm erican weapons-huntersfollowed Am erican troops
           into Iraq,anotherfront-page article declared,''IllicitArm s KeptTillEve of
           W ar,an lraqiScientistIsSaid to Assert.''Itbegan thisway:''A scientistwho
           claim sto haveworked in lraq's chem icalweaponsprogram form orethan a
           decadehastold an Am erican m ilitary team thatlraq destroyed chem ical
           weaponsand biologicalw arfare equipm entonly daysbeforethew arbegan,
           m em bersoftheteam said.''
           The inform antalso claim ed thatIraq had sentunconventionalw eaponsto
           Sp-ia andhadbeen cooperatingwith A1Qaeda--two claim sthatwerethen,
           and rem ain,highly controversial.Butthe toneofthe article suggested that
           thisIraqi''scientist''--who in alaterarticle described him selfasan officialof
           m ilitaryintelligence--hadprovidedthejustification theAm ericanshad been
           seeking fortheinvasion.
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               TheTim esneverfollowed up on theveracity ofthissource orthe attem ptsto
               verifyhisclaim s.
               A sam ple ofthe coverage,including the articlesm entioned here,isonlineat
               nytim es.com /critique.Readerswillalsofind thereadetaileddiscussion
               written forThe New York Review ofBookslastm onth by M ichaelGordon,
               m ilitaly affairs correspondentofThe Tim es,aboutthe alum inum tubes
               report.Responding to thereview'scritiqueofIraq coverage,hisstatem ent
               could sel've asa prim eron the com plexitiesofsuch intelligence reporting.
               W econsiderthe stot' y ofIraq'sw eapons,and ofthepattern of
               m isinform ation,to be unfinished business.And w efully intend to continue
               aggressive reporting aim ed atsetting the record straight.



  M v unprofessionalcom m ent:''After reading that crap
  bv the N ew York Tim es,Iw ant to throw up.''



  Godspeed
  Sincerely,


  David Andrew Christenson
  Box9063
  M iramarBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ gm ail.com
  dchristenson6@ hotmail.com
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                                   UN I
                                      TED STATES DISTRICT CO URT
                                    THE DISTRICT O FCOLUM BIA

  United StatesofAm erica                                     Crim inalDocketNo.1:17-cr-232

                                                              Judge Em m etG.Sullivan

  M ichaelT.Flynn
  Defendant
                                      M otionforReconsideration

 Iaskedeveryoneintheworld and lmeaneveryoneintheworld(ThePope,the Pope'sPharmacist,
 China,AlJazeera,etc.llforhelpandthatincludesthe Russians(There isapapertrailamileIong)(Asyou
 know Iam a prolificcommunicatorandatruechampionofthe FirstAmendment,askanyFederalJudge)
 W earetalkingaboutmorethanjustourcountry,wearetalkingaboutthefateofM ankind.Iaskedthe
 Russiansforhelp in Mettinn Donald Trum p Elected.Iknew thatHillary Clinton would notexpose the
 truth.ClintongivingAttorneyGeneralEricHolderandSecretaw ofLabor/AssistantAttorneyGeneralfor
 CivilRightsThomasPerezconsideration forthe Vice Presidencyconfirm ed thatshe would perpetrate
 the coverup ofthe Genocide ofM ankind.M y onl  y hope wasthatDonald Trum pw ould getelected.I
 com m unicated with the Trum p cam paignvia US M ail,emailand phone.Ihave senthundredsofpagesof
 documentsto the W hite Housevia US M ailand em ailafterhe waselected.

 Censorship opened the doorforthe Russians.ForProfi tM edia opened the doorforthe Russians.This
 courtisthe onlv forum leftforAm ericansto Retthetruth.The Constitution grantsthem thatRight.I
 beg you,do notto allow the For-profitM ediaand Foreign Powersto controlourcountry,ourdestiny
 and ourtotaldestruction.Ifwe continue Americaw illfallw ithoutone shotbeing fired.

 Iw asvervw ronM aboutTrum p.Iw rongly thoughtthatbecause he did nothave politicalbaggagethat
 he would honorthe oath ofthe Presidency.

 Could the Russiansuse m e ormy cause asa defense? Could Putin use m e and m ycause to become an
 InternationalHero?

 PresidentAbraham Lincoln wascorrect:''Americawillneverbe destroyed from the outside.Ifwe falter
 and Iose ourfreedom s,itw illbe because we destroyed ourselves.''

 W e have failed to honorthose thatdied creating thisRepublicand those thathave died protecting it.

 AIIwe have to do islookto the Constitution.The answersare so simple,so easyto see and so easyto
 im plem ent.The Constitution isa m iracle thatisfourpagesIong,wascreated overfourm onthsand has
 God's hand.God gave us''Free W iII''

 Honorthe Constitution and we aIIsurvive.Dishonorthe Constitution and M ankind ceasesto exist.Not
 only isthe FederalJudiciarythe Iastline ofdefense forthe Constitution i
                                                                       tisthe IastIine ofdefense for
 M ankind.

                      ''There willbe no sunarcissists.Honorwillalwaysbe chosen.''
                                       David Andrew Christenson
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                      ''A sunarcissistisanarcissistwho choosessuicideoverhonor.''
                                         David Andrew Christenson

   Narcissist:In psychiatry,a personality disordercharacterized bythe patient'soverestim ation ofhisor
   herown appearance and abilitiesand an excessive need foradmiration.Excessive self-adm irati  on and
                                              self-centeredness

 A few lastthoughts.In afew yearsthe interestexpenseforthe NationalDebtwillbe greaterthan what
 thiscountryspendson Defense.Brain m onitoring,fusion,artificialintelligence and the quantum
 com puterwillbecom e realitiesin the nextfew years.W ho do you wantto controlthem ?l/i  thoutthe
 Rule ofLaw those incredible powerfulforceswillfallinto the wrong handstherebyfurthersealing the
 fate ofM ankind.Ihope they have notalready fallen into the wrong hands.

  lsthere a shadow governm ent? lfwe worktogetherwe can save ourcountry and M ankind.

  Both ofthe following quotes are attributed to Thom asJefferson,one ofourfounding fathers.lknow of
  no betterquotes.
  ''Eviltrium phsw hen good men do nothing.''
  ''W hen the people feartheirgovernm ent,there istyranny;whenthe governm entfearsthe people,there
  is Iiberty.''


  Godspeed
  Sincerely,


  David Andrew Christenson
  Box9063
  M iramarBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ gm ail.com dchristenson6@ hotm ail.com

                                       CERTIFICATEOFSERVICE
        Iherebycertify thaton February 20th,2018 Ifiled the foregoing withthe ClerkofCourtand
               served the pleading on aIIcounselofrecord by e-mailand first-class mail.


                                       David Andrew Christenson
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 '

     Judge A.Jackson,
     DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
     EVDC:Judge:T.S.Ellis III
     5th Judgesand Clerk:C.Stewart,P.Higginbotham and Clerk L.Cayce
     EDLA:Judge G.Berrigan
     AttorneyJane Roberts
     M arch 12tb; 2018



       M A NKIN D'S DEATH CERTIFICATE W A S SIG N ED O N O W O BER
             12TH,2050 W ITH NO T SO M UCH AS A W HIM PER.
                              CA USE O F DEATH W A S SU ICID E

     FBIDirectorRobertM uellerisresponsible forthe coverup thattookplace in New Orleans.

     Thisshow sthe end ofM ankind.Iam goingto translatethe New YorkTim esarticle foryou.Rem ember
     thatthe New YorkTimesisforprofitandthatmeansthey willcamouflage the truth in orderto make
     m oney.

     Darwin'stheory hasthree com ponents:com pete,survive and procreate.W hen som eone underthe age
     of25commitssuicide statisticalyouhave8(16)suicidesasitpertainsto Iifeexpectanciesanddeath
     rates.You Iose the procreate com ponent.M ankind musthave a positi
                                                                      ve birth rate.W hen the birthrate
     isa negative 3% you are pastthe pointofno return.

     M ankind'snum berone instinctwassurvivalbutnow suicide isa Ii
                                                                 fe choice.W hy?Justmaybe lam right.
     Do you have a betterconclusion? Rem emberthatourGovernm ent'sTuskegee study withheld penicillin
     from blackm enthathad syphilisfor40 years.Do you have idea how terrible itisto die from syphilis?
     Yourbody and brain are eaten away.

     W hen did M ankind develop addictions?W hatcausesan addiction?The article wantsto blam e iton
     opioidsbutthisiserroneous.

     Rem em berthatthe m ilitary and CIA were workingon the perfectweapon in New Orleans:Anorganic,
     easy to disperse and dissipatesin 5 daysweapon thatcausesthe opposing arm yto com m itsuicide.Icall
     thisweapon the KatrinaVirus.Ourgovernmentwasnegligentand allowed thissuicide weapon to
     escape into the perfectincubatorw hich wasHurricane Katrina.Hightem peratures,high hum idity and
     high solidsallowed the KatrinaVirusto travelwestand northand then to theeastcoast.Ohio washi   t
     hard.The weapon destroysthe im m une system which allowsforaddictions.The degraded im m une
     system allowsforAlzheimer's,dementia,influenza and pneumonia deaths,etc.

     W e have allowed the cover-up ofthe Genocide ofM ankind athisow n hand.The FederalJudiciary did
     notrealizetheramificationsofthe coverupandtooknostepsto investigate.TheDol/RobertM ueller
     Iied to theJudges.
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 Two factsthatyou can confirm through independentsources.The United stateshasa negative birth
 rate and Iife expectanciesare declining.Ifyou remove both Iegaland illegalim m igrantsfrom the last
 thirty yearsthe num bersare m uch more significantand pronounced.Atcurrentprogressions,sim ple
 m ath,suicidesw illoutnum berbirthsin the next32 years.Suicidesare increasing and birth ratesare
 decreasing and one daythey willintersect.Thatday isan apocalypticevent.

 W eare now starting to see avery noticeable disparitybetween blackwomen and black men asa
 percentage ofthe black population dueto the m urderrate.W e are approaching a 6% differential.W hen
 Iwasfalsely arrested by the DOJand placed into the OrleansParish Prison IIearned a greatdeal.One
 socialnorm isthatbeing blackand in prison isnormal,itis Iike going to the convenience store for
 something.

 Thearticle hasnothingto dowithsports.ThisisthesametypeofarticiethattheNew YorkTimes(NYT)
 w rote aboutPresidentGeorge W .Bush'sIraq w ar.The NYT directed the spotlightaway from the
 approaching catastrophe.The NYT knew thatthere were no weaponsofm assdestruction in Iraq and
 thatAlQaeda wasnotthere.The NYT knew thatthe Presidentwascom m itting fraud butthe fraud w as
 good forbusiness.

 The article waswritten asa sportarticle.Thedem ise ofM ankind isa sportaccording to the NYT.

 Lookpastthe flowew pose.Thisisnotafeel-good story butitiswritten Iikeone.The NYT drawsthe
 wrong conclusions.People read the article and believe the conclusions.W hy?The NYT and JulietM acur
 are trying to m ake m oney so they package the article asa beautifulpetrock.They are tryingto m ake it
 an opioid problem butisit?W hatcausesan opioid addiction?

 One glaring consistency withthe NYT isthattheyneveroffera solution.They printcontentiousarticles
 to startwarsthatpitusagainsteach otherbecausethatishow they m ake m oney.

 lwasdeclared to be aterroristand yetno one haseverdied from som ething that1did.M ankind w illdie
 because ofwhatthe NYT hasdone.

 Sports
 Suicides,DrugAddiction and High SchoolFootball
 SportsofThe Times
 By JULIET M ACUR M ARCH 8,2018
 https://www.nvtimes.com/zol8/o3/o8/sports/onioids-
 suicide.htm l?em c=edit th 180311&nI=todavsheadIines&n1id=654609360311
 M ADISON,Ind.- An hour'sdrive from Louisville,perched along the Ohio River,sitsthe prettiestlittle
 tow n.
 M adison,population 12,000,hasw on awardsforitsbeauty.BestM ain Street.One ofthe top 20
 romantictownsin Indiana.One of12 distinctive destinationsin the United States,according to the
 NationalTrustforHistoric Preservation.
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 Theriverwalk,downfrom the main street,isahotspotforjoggersand dogwalkersand couples
  canoodling on benches.In thedistance,asoaring bridge thatconnectsIndiana and Kentucky often
  disappearsbehind a morning fog.
  It'salIa Iovelydistraction from anopen secret.On a reporting trip in July,Ilearned thisin the unlikeliest
  ofplaces:atHorst'sLittle BakeryHaus,adoughnutshopwithjustafew tables,notfarfrom the ri
                                                                                       ver.
  A waitresshadoverheard me interviewingsomeoneatthe bakeryearlier,and asked ifIwasajournalist.
 She checked overhershoulderto see ifanyone wasIistening.There wasan urgency in herw hisperas
 she said:''IIostm y son Iastmonth.He hung himselffrom a tree in ouryard and shothim selfin the head.
 Icuthim down mysel    f,w ith m yow n hands.So m anysuicides.''
 She wiped away tears.
 ''W e need yourhelp,'?she said.
 M adison,Ind.,population 12,000,hasa vibrantM ain Streetand wasnamed one of12 distinctive
 destinationsin the United Statesby the NationalTrustforHistoricPreservation.
 M adison,in southeastern Indiana,isatthe centerofa drug-trafficking triangle connecting Indianapolis,
 Cincinnatiand Louisville.Itisbattling Iife-or-death problems.
 The wai tressatthe bakery w illtellyou that.So willheronlysurvivingson,w ho graduated from high
 schoolin M ayand talksabouthow he wanted to killhim selfafew yearsago.The bakery'sdishwasher
 willtellyou a stor'
                   y,too.Herz6-year-old daughterdied ofmultiple organ failure in 2015,afteryearsof
 addiction.She Ieftbehind adrug-dependentinfant.
 Even the head footballcoach atM adison Consolidated HighSchoolknowsthatthistow n - Iike so m any
 othersacrossthe country,in both rich and poorareas- isRoin:through hellthese davs,pushed over
 the edge bv a grow ing opioid problem that'seatinx awavatcom m unities.
 Inthe coach'spreseason speechto histeam,he didn'tinvoke Vince Lom bardiorrepeatinspirational
 quotations.Instead,he told the playershow he ended up coaching atM adison,whatmotivated him to
 stay here and how drugsplayed a role inthat.
 M adison isone ofthe placesthathave been hitespeciallv hard bv the opioid crisis,w hich hasbeen
 declared a nationalem erlencv.There'sno single reasonforit.
 Theunemploymentrate hereinJeffersonCountyisaround4 percent,justaboutthesameasitis
  nationw ide,and amongthoseem ployed residents,abouta quarterworkin manufacturing.The county is
  m ostly rural,and overwhelm ingly white.In M adison,which ism arked by three riverfrontsm okestacks
 thatcanbeseenformiles,themedian household incomein2016wasabout$51,500,andtwoofevery
 10 children under18 Iived in poverty.
 The touristsw ho travelhere see M adison'santiqueshopsand frequentitsart,m usic,food and boat-
 racingfestivals.Butbeneath aIlthatare the crisesthatthreaten to dragthistown under:suicide,
 depression,child neglect,abuse and addictionto drugs.
 ''AIIofthese problemsgo hand in hand,'said Tonya Ruble-Richter,executive directorforthe
 Southeastern Indiana VoicesforChildren,which trainscourt-appointed advocatesforchildren and is
 based in M adison'shistoricdistrict.
 ''There'sdefinitely an underbelly,and people don'twantto addressit,''she said ofM adison.''W e/re on
 fire here.''
 And dying.
 In 2016.the suicide rate in Jefferson Countv,a countv of32.000 people in which M adison isthe
 biggesttow n,was41.8 per100,000 residents.Itwasthe hiRhestsuitide rate foranv Indiana countv,
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 and m orethan tw ice the state averaMe.Com pared w ith the nationalrate.it'sa startlinc 3.2 tim es
 hiaher.
 The M ilton-M adison Bridge connectsKentucky and lndiana, overthe Ohio River.
 The epidem icisheart-w renchinc,and it'saettingw orse,said Rodnev L.Nav,the Jefferson County
 coronerw ho runs M adison'sM orlan & Nav FuneralCentre.He said thatfrom Februarv 2017 to earlv
 Novem ber2017.there were atIeast15 confirmed suicidesinlefferson Countv.w ith manv m ore
 suspected suieidesfrom overdoses.Thatincludesfoursuicidesthe week M adison hosted a suicide
 awarenesswalk and a hilh schooladm inistratorw ho killed himselfiustw eeksaftersubm ittinR a Rrant
 to increase suicide counselinM.
 Justtwo weeksago,a 2016graduate ofM adison Consolidated High Schoolfatally shothimselfin the
 head.He was20.
  ''Youjustcan'tbelievethisisalIhappeninginonesmallcommunityz''Nay,52,said.''Inmycareer,and
 I've been doingthissince Iwas14,I've neverseen anything Iike this. So m any more young people are
 dving.''
 Nay hashad to bury the childrenofhisformerM adison high schoolclassm atesand hasweptwith those
 fam ilies,aswellasm anyothers- because everybodyknowseverybody here. No one Ean explain w hv
 suicide hasbecome a realisticoption.
 M any people in M adison m usttraveloutoftown forhelp because there aren'tenough counselorshere.
  'To helpsomeonethroughahardtimejusttakesonepersonlisteningand providinghopez''Naysaid.
 ''So that'swhatwe're trying to do.'
 That'swhatPatricM orrison,head footballcoach ofthe M adison Cubs, istrying to do.
 Keeping Playerson the Field
 Glance atthe high school'strophycasesand you can see thatM adison - in the heartofIndiana
 basketballcountry - isn'tknown foritsfootball.
 There are awardsforbasketball,sw im m ing,wrestling, trackand field and soccer.Butthe most
 im pressivefootballaw ard isa conference cham pionship trophy - from 1973. The figure ofa football
 playeratop the trophy ismissing mostofitsthrow ing arm .
 M adisonhashadjusttwowinningseasonsinthepast25years,yetMorrison- a Madisonnativewho
 played forthe team - stilldreamed ofcoaching there.Going in,he knew there would be obstacles,
 includingthatMadison,withjustunder1,000students,playsinaconferencewithbiggerschools.
 W inning footballgam esisnothistopgoal. During hisspeech to kickoffIastseason,he explained why.
 ''lhave thisyoungerbrotherz''M orrisontold hisplayersbetweentwo-a-day practices. ''He'svery
 athletic,verysmart.He can show up fora testwithouteven studying and get100 - som ebody w ho had
 to be triple-team ed on thefootballfield.Itried to keep him onthe righttrack.''
 M orrison,30,isfive yearsolderthan hisbrother,Zach.Asa boy,PatricM orrison wasdark-haired, husky
 and cautious.Zachw asred-haired,thin and audacious.The boysfished forwalleye on cam pingtrips.
 Theywere kart-racing daredevilson their10 acresofproperty.
 Thepolice called PatricMorrisontheni
                                    ghtbefore heinterviewedforthe Madisoncoachingjob.''Just
 wantto Ietyou know thatwe arrested yourbrother,''the officersaid. ''W e caughthim with heroin.'
 Zach wasgiven a nine-yearprison sentence.
 ''There'sa whole correlation between him , andmegetti
                                                     ngthisjob,''Morrisontold hisplayersduring
 thatsum merspeech.''Because ofhim ,I've gained 60,70 youngerbrothers,and Iwantto keep you from
 doing the thingshe did.
 ''1w antto save you from that.''
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  Som e Cubsplayerstold me M orrison should be m eaner.He could push them harder,m ake them run
  m ore hills.M aybe he could curse a Iittle.
  Morrisonbelieveshehasto becarefulabouthow muchhe pusheshisplayersbecausehe'safraidthe/ll
  quit.Som etimeshe'safatherfigure,sometim esa task master.Butit'sim perativethathe doesn'tscare
  playersaway.
  ''I'd ratherfocuson the kidsthan the w insz''he told m e,''because 1see whatcan happen to kidsw ho
  strayar?
  He saw itw ith a playerexpected to be the starting quarterback.Thatplayer,the bestathlete on the
  team,strayed.
   ''He could throw a ballw ith hisIefthand in a perfectspiralmore than 30 yardsfartherthan otherguys
  would throw w i   ththeirdom inanthand,''said Jam esLee,an assistantcoach and a M adison police
  officer.''There'sno doubthe could've played Division I- ifhe hadn'tmelted dow n.''
  The playerstopped com ing to practices.Hewassuspended from school,and Iatershowed up on a
  m issing-person report.A day before ImetM orrison,the playerhad been escorted from schoolafter
  being caughtw ith pills.
   ''It'scrushing w hen you strike outwith aplayerz''said Morrison,a middleschooltechnology teacher.'If
  they have som ething else going on,Iike anotheractivity,then itcan be O.K.Butifthey have nothing
  else,that'swhatworriesm e.It'sthedowntim e thatworriesme.''
  Anotherplayerwho quitthe team eventuallydropped outofschooland vanished.M orrison Iatersaw a
   new spaperarticle aboutthe player.
  Thepolicehadfound the playerpassedoutinacarwithamarijuanabluntandapocketfulof
  prescription pills,includingClonazepam,(ananti-seizureandanti-anxietydrug),Promethazine(an
  allergyandmotionsicknessdrug)andTrazodone(anantidepressant).Hesaidthe methamphetamine
  pipe in the carwasn'thisbecause he only snorted the drug.
  AsM orrisontold m e aboutthatplaver,atextfrom Lee.the assistantcoach.popped up on his
  cellphone.ltwasa w arninR.
  Lee advised M orrison to be aw are ofstudentsw ith aumm v bears because thev could be Iaced w ith a
  svntheticstim ulantcalled flakka,known to cause violentbehavior.The textsaid the candvw as
  ''usuallv individuallv wrapped,stickierthan normal.''


  Godspeed

  Sincerely,


  David Andrew Christenson
  Box 9063
  M iram arBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ Rm ail.com dchristenson6@ hotm ail.com
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                                                                             '


  JudgeA.Jackson,                                                                M arch 12th# 2018
  DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
  EVDC:Judge:T.S.EllislII
  5thJudgesand Clerk:C.Stewart,P.Higginbotham and ClerkL.Cayce
  EDLA:Judge G.Berrigan and Attorney Jane Roberts

  Three quotesbySuprem eCourtJustices.Hashistoryshown them to be wrong?W illhistory show that
  you were w rong? W hatwillhistory show aboutm e?The knowledge thatIam giving you cannotbe
  returned Iike a ChristmasorBirthday Present.Iam giving you the knowledge ofthe Genocide of
  M ankind.

        JusticeOliverW endellHolmes.Jr.'Wehaveseenmorethanoncethatthepublicwel          jaremay
        calluponthebestcitizensfortheirIives.Itwouldbestrange/  (J/tcouldnotcallupon thosewho
        alreadysap thestrenqthoftheStatejortheseIessersacrl  hces,oftennotfelttobesuchbythose
        concerned,inordertopreventourbeingswampedwithincompetence.ItisbetterforaIIthe
        world,l finstead ofwaiting toexecutedegenerateoffspringforcrime,ortoIetthem starvefor
        theirimbecility,societycanpreventthosewhoaremanl   jestlyunfitjrom continuing their
        kind....Threegenerationsofimbecilesareenough.''

        ''No RightsW hich the W hite M an wasBound to Respect''ChiefJustice RoaerTanev On M arch 6,
        1857,ChiefJustice RogerTaney issued whatiswidely regarded asthe worstSupreme Court
        opinion ever.He noted thatthe question before the Courtwasw hetherAfricanAm ericansare
        citizensofthe United Statesand thusable to file suitin federalcourt.Hisanalysisofthatissue is
        couchedinabjectlyracistIanguage:VjricanAmericanslhadformorethan acenturybefore
        beenregardedasbeingsofaninferiororder,andaltogetherunjittoassociate with thewhite
        race,eitherinsocialorpoliticalrelations;andsofarinferior,thattheyhadnorightswhich the
        whiteman wasboundtorespect;and thatthenegromightjustlyandIawfullybereducedto
        slaveryforhisbenefit.He t
                                vax sboughtandsold,andtreatedasan ordinaryarticleof
        merchandiseand traffic,wheneveraprofitcouldbemadebyit.
     # Justice Henrv BillingsBrown Plessyv.Ferguson case establishing the principle of''separate but
       equal'?and making Jim Crow segregationthe law ofthe Iand in the United Statesforthe next
       halfcentury.''Leqislation ispowerlessto eradicateracialinstincts orto abolish distinctionsbased
        uponphysicaldl lferences,andtheattempttodoso canonlyresultin accentuating the
        dl
         lficultiesofthepresentsituation.Ifthecivilandpoliticalriqhtsofb0thracesbeequal,one
        cannotbeinjeriortotheothercivillyorpolitically.I
                                                       foneracebeinferiortotheothersocially,the
        Constitution oftheUnitedStatescannotputthem uponthesameplane.'
 Godspeed
 Sincerel
        y,
 David Andrew Christenson
 Box9063
 M iramarBeach,Florida 32550 504-715-3086
 davidandrewchristenson@ am ail.com dchristenson6@ hotmail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 41 of 49



  Judge A.Jackson,                                                    M arch 13th 2018
  DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
  EVDC:Judge:T.S.EllisIII
  5thJudgesand Clerk:C.Stewart,P.Higginbotham and Clerk L.Cayce
  EDLA:Judge G.Berrigan and AttorneyJane Roberts

  ThisIetterwasm ailed and emailed to the following US Attorneysthatare working forSpecialCounsel
  RobertM ueller:JeffSessions,Rod J.Rosenstein,M ichaelDreeben,Andrew W eissm ann,Jeannie Rhee,
  Jam esQuarles,Aaron Zebley,Greg Andres,Zainab Ahm ad,Aaron Zelinsky,Kyle Freeny,Andrew
  Goldstein,Elizabeth Prelogar,Brandon Van Grack,Adam Jed,Rush Atkinson,Ryan K.Dickey,Aaron S.j.
  Zelinsky,ScottM eislerand Brian Richardson.

                  Istartwith wordsfrom yourfellow FederalJudge:KurtEngelhardtEDLA

          Read the Horn Report(M uchofthe informationintheHornReportisstillunderSeaI.)
  (W hy?TheAmericanPeople haveaConstitutionalRightto know thetruthandtheramificationsofwhat
                                    tookplacein New Orleans.)
                            https://www.'
                                        lustice.aov/opr/file/8846gl/download
                                         DEPARTM ENT OFJUSTICE
                                                O FFICE O F
                                      PRO FESSIO NALRESPO NSIBILITY
                                                  REPO RT
                          lnvestigation ofAllegationsofProfessionalM isconduct
                        AgainstForm erAssistantUnited StatesAttorneysSal   vador
                         Perriconeand Jan M ann,Uni   ted StatesAttorney'sOffice
                                    forthe Eastern DistrictofLouisiana
                                           DECEM BER 20,2013
                      NOTE:THIS REPORT CONTAINS INFORMATION FILED UNDER SEAL
                     IN UNITED STATESV.BOW EN,ETAL.,CR.NO.10-204 (E.D.LA.),AS
                      W ELLAS SENSITIVEAND CO NFIDENTIALINFORM ATIO N.DO NOT
                      DISTRIBUTETHEREPORT OR ITSCONTENTSW I  THOUT THE PRIOR
                       APPROVALOFTHE OFFICEOF PROFESSIONALRESPONSIBILITY.

    JudgeKurtEngelhardt'sOrderand Reasons(129pages)thatgranted anew trialinthe DanzigerCivil
                                                  RightsCase
               Case2:10-cr-00204-KDE-SSDocument1137 Filed09/17/13Page1of129 EDLA
  The following are quotesfrom ChiefJudge KurtEngelhardtwho presided overthe Danzigercriminal
  case.Danzigerw asthe biggestCivilRightscase ofthe Iast30 years.FBlDirectorRobertM uellerwasan
  integralpartofthe crim inalprosecution m isconductand coverup.

  ''Usina Iiarslving to convictIiars isno wavto pursue iustice.''
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 42 of 49



  Thefollowingquotecould befrom anyofthejudgesthatare presidingovertheSpecialProsecutor
  cases:LvinRprosecutorsusingIiarsIyingtoconvictIiarsisnowayto pursuejustice.''Thecredibilityof
  the SpecialProsecutorhasto be called into question because ofpastcrim inalconductby Robert
  M ueller.The credibility ofthose attorneysand investigatorsthatare working forthe SpecialProsecutor
  m ustbe called into question asw ell.lfthey honorthe oath thattheytook,theywould demand that
  M uellerresign and be prosecuted.

  Forexample,hetookaim atAssistantU.S.AttorneyGeneralThomasPerel,headofthejustice
  Department'sCivilRightsDivision,writinqthatPerez''
                                                   aliblvresponded''tosomeofEnqelhardt' s
  criticismsafterthesentencinqbysayinqDrosecutorscan'tp/ckwitnessesata ''witnessstore.''

  Chiefjudge Ktprt(EDLA)Enqelhardtaddedin thefootnote thatthecooperatingdefendantswere
  ''
   purchased,bouqhtand pa/d for'
                               'with more Ienientsentences.''M r.Perez'
                                                                      scom m entm issesthe Doint,''
  Ennelhardtconcluded.

  (Hereisaveryscarypointabouttheworld thatyouhavecreated.SecretaryThomasPerezwas11thin
  Iine to be Presidentwhen he w asSecretaryofLabor.Isthisthe world youwantto Ieave yourchildren
  and grandchildren? Perezisgoingto runforPresident.Itw illbe said thatPresidentThom asPerezhasno
  useforthe FederalJudiciary.Hisactionswillconfirm.)

  EngelhardtdeliveredanevisceratingcritiqueoftheDepartmentoflustice'
                                                                   sprosecutionand theharsh
  chargesitbrouqht,resultinq in high m andatorym inim um sentences.

  ''
   the airofm endacitvatthis trialz/asnotIimited to the actionsofthe defendants.''

  Each one ofthe US attorneysis poisoned fruitfrom a poisoned tree.SpecialCounselRobertM ueller
  should be prosecuted forCrimesAgainstHumanity,Genocide,M isprision ofa Felony,M isprision of
  Treason,M urder,Conspiracy,etc.M uellerand histeam should be turned overto the International
  CriminalCourtinThe Hague.(Thiswillhappen.Theworldwilldemandit.)

  This isthe oath thatUS Attornevsswearto:
  ''1,name,dosolemnlyswear(oraffirm)thatIwillsupportanddefendtheConsti
                                                                     tutionoftheUnited
  StatesagainstalIenem ies,foreign and domestic;thatIwillbeartrue faith and allegiance to the same;
  thatItake thisobligation freely,withoutanym entalreservation orpurpose ofevasion;and thatIw ill
  welland faithfully discharge the dutiesofthe office on which lam aboutto enter.So help m e God.''

  18 U.S.Code j 4 -M isorision offelonk
  W hoever,having knowledge ofthe actualcom missionofa felonycognizable bya courtofthe United
  States,concealsanddoesnotassoonaspossiblemake knownthesameto somejudge orotherperson
  in civilorm ilitary authority underthe United States,shallbe fined underthistitle orim prisoned not
  m ore than three years,orboth.
  (June25,1948,ch.645,62Stat.684;Pub.L.103-322,titleXXXIII,j330016(1)(G),Sept.13,1994,108
  Stat.2147.)
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 43 of 49



  18 U.S.Code j 2382 -M isnrisionoftreason
  W hoever,ow ingallegiance to the United Statesand having knowledge ofthe com m ission ofany treason
  againstthem,concealsand doesnot,assoon asmay be,disclose and make known the same to the
  Presidentortosomejudgeofthe UnitedStates,ortothegovernororto somejudgeorjusticeofa
  particularState,isguiltyofmisprision oftreasonand shallbe fined underthistitle orim prisoned not
  m ore than seven years,orboth.
 (June25,1948,ch.645,62Stat.807;Pub.L.103-322,titleXXXIII,j330016(1)(H),Sept.13,1994,108
 Stat.2147.)



 Godspeed

 Sincerely,




 David Andrew Christenson
 Box9063
 M iram arBeach,Florida 32550
 504-715-3086
 davidandrewchristenson@ am ail.com
 dchristenson6@ hotmail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 44 of 49



 'Judge A.Jackson,                                                     M arch 14th/2018
  DCDCJudges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
  EVDC:Judge:T.S.EllisIII
  5thJudgesand Clerk:C.Stewart,P.Higginbotham and Clerk L.Cayce
  EDLA:Judge G.Berrigan and Attorney Jane Roberts
  DOJ:JeffSessions,Rod Rosenstein,RobertM ueller

                 In Honorofthe Passing ofFam ed TheoreticalPhysicistStephen Hawking

  Haw king wasthe sm artestm an inthe world and noteven he could understand how truly corruptthe
  world is.He wasprogramed Iike aIIofus.Ifwe truly had free speech hiswarningswould have been m ore
  severe.You m ustexpand yourhorizonsto see how everything isinterconnected because ifyou don't
  M ankind w illcease to exist.You are rnore im portantto savinR M ankind than vou think.a Iotm ore
  im portant.lbegvou to Mive m e a voice.

  Attachment1:Docketed by the United StatesCourtofAppealsforthe 5th CircuitCase:16-30918
  Document:00514003092Page:1Date Filed:05/08/20175 pages

                                Supplem entalMem orandum Twenty-Two
   The sm artesthum an in the world agreeswith me and ifhe knew the truth in accordance with the First
   Am endm enthe would agree with me on thetim etable forthe extinction ofM ankind.My calculations
   show wehave33yearsIeft(October12th,2050)becauseofthe KatrinaVirusand hisshows100years
                        which isdow nfrom the 1000 yearsthathewaspredicting.

  Attachment2:Docketed bythe United StatesCourtofAppealsforthe 5thcircuitCase:16-30918
  Document:00514024750 Page:1 DateFiled:06/07/201727paResYou should readthis.

                                Supplem entalMem orandum Twenty-Eight
  Suicide hasbecom e a societalIife choice w hich isnow a permanentpartofourculture.Here isasuicide
   fad thatwillbecom e a trend thatwillbecom e a permanentsocietalIife choice forusand ourchildren.
      M athem atically suicidesw illoutnum berbirths,worldwide,in the nearfuture.Thisisthe end of
                                                 M ankind.
                              'VoluntaryStopEatingand Drinkinga''(VESD)

  Godspeed

  Sincerely,

  David Andrew Christenson
  Box 9063
  M iram arBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ cm ail.com
  dchristenson6@ hotmail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 45 of 49



                                       UNITED STATES DISTRICT COURT
                                        THE DISTRICT OFCOLUM BIA

  United StatesofAm erica                                        Crim inalDocketNo.1:17-cr-232

                                                                 Judge E.Sullivan

  M ichaelT.Flynn
  Defendant

                        Em erRencv M otion to Intervene filed on behalfofaIlAmericans

  Senttheattachedemail(viaU.S.M ailtoSpecialCounselRobertMuellerand hisstaffofUSAttorneys.I
  also sentitto AttorneyJeffSessionsand Deputy Attorney GeneralRod Rosenstein.

  Doyoureall
           y believethatPaulManafortwillbequietandspendthe restofhisIife injail?PerJudgeEllis.

  DoyoubelievethatPresidentTrumpwillallow hischildrenandson-in-law togo tojail?
  DoyoubelievethatPresidentTrumpwillallow himselfto bechargedandgotojail?
  You can'tallow thistheatricalproduction of''SunarcissistRobertM uellerand the Genocide ofM ankind''
  to play outany Ionger.You can'tallow acriminaland corruptprosecutorto representthe American
  People when the stakesare the ''End ofM ankind''.lfyou Ietthisgo any furtherwe w illhave Am ericans
  fighting Americans.W e willhave blood isthe streets.M ath and tim e willbringthe truth to Iight.The
  longeryou abrogate yourresponsibility the worse itwillbe.

  The truth hasto be told and M uellerhasto go,today.Iguarantee thatM uellerwillprotecthim selfand
  notthe American People.He willstop the investigationand the prosecutions.

  Godspeed
  Sincerely,
  David Andrew Christenson
  Box 9063
  M iram arBeach,Florida 32550
  504-715-3086 -davidandrewchristenson@ am ail.com -dchristenson6@ hotm ail.com
         '

                                           CERTIFICATEO FSERVICE
             Iherebycertify thaton M arch 15th#2018 Ifiled the foregoing withthe ClerkofCourtand
                   served the pleading on aIIcounselofrecord by e-m ailand first-classm ail.


                                          David Andrew Christenson
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 46 of 49



  Judge A.Jackson,                                                     M arch 15th# 2018
  DCDCJudges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
  EVDC:Judge:T.S.EllisIII
  5th Judgesand Clerk:C.Stew art,P.Higginbotham and ClerkL.Cayce
  EDLA:Judge G.Berrigan and AttorneyJane Roberts

  lhave attached 1 KingsXXII23 foryou to review before itistoo late.


  Godspeed

  Sincerely,



  David Andrew Christenson
  Box9063
  M iramarBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ am ail.com
  dchristenson6@ hotm ail.com
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 47 of 49



  Judge A.Jackson,                                                       M arch 17tb# 2018
  DCDC Judges:A.Jackson,E.Sullivan,R.M ossand D.Friedrich
  EVDC:Judge:T.S.Ellis III
  5th Judgesand Clerk:C.Stewart,P.Higginbotham and Clerk L. Cayce
  EDLA:Judge G.Berrigan and AttorneyJane Roberts
  DOJ:JeffSessions,Rod Rosenstein,RobertM ueller

   FBIDirectorAndrew Mccabe,GeneralMike FlynnandSpecialCounsel
                                                             /FBlDirectorRobertMuellerand
                          howthev putFederalJudges in iail
  Andrew M ccabe isa Sunarcissist.He willcontinue to incrim inate the FederalJudiciary. He willtake aIIof
  you with him .Guys Iikethatcan'tshutup.They have gotten awayw i    th itforso Iong they fearnothing.

  GeneralM ike Flynn isaSunarcissist. He iscam paigning in California.Are you kidding?

  Rem em berthis is the w orld thatyou created and thatyou have allow ed to exist                   .

  The DOJhas used you and you have allow ed it.You have welcom ed it                     .




  They are pushing fora second SpecialCounsel. W illthere be a third SpecialCounselto investigate the
  FederalJudiciary?

 The pendulum w illsw ing with ferocityand there willbe no stopping it. Itwillbe Iike GeneralSherman
 burning the South on hisM arch to the Sea.


 Ican help to centerthe pendulum .Iw illput A m erica
 first.
 The FederalJudiciaryw illnotescape this.

 Mccabe,Flynnand Muellerhavechosensuicideandmurdertsl-suicide.Theymaynothavegunsbutthe
 resultsare the same.

 ''There w illbe no sunarcissists.Honorw illalwaysbe chosen.''
  David Andrew Christenson

 ''A sunarcissistisa narcissistwho choosessuicideoverhonor.''
 David Andrew Christenson

 In 2011 1wrote 'The United StatesSupreme Courtand the Katrina Virus'
                                                                    '. The bookwasgi
                                                                                   ven a Library
 ofCongressControlNumber(LCCN)and placed intotheLibraryofCongressLibrary.Thebookhasbeen
Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 48 of 49



  removed from the Library ofCongressand aIIreferencesto itand me have been rem oved,sanitized and
  censored.

  Here are the firstfew sentences:

  AnEpicConstitutionalCrisis.Iam talkingaboutthepoliticaldestructionofaIIthreebranches(Executive,
  ludicialand Legislative)ofourFederalGovernment.
  Godspeed

  Sincerely,

  David Andrew Christenson
  Box 9063
  M iram arBeach,Florida 32550
  504-715-3086
  davidandrewchristenson@ amail.com
  dchristenson6l hotm ail.com
                                                                                                                                                                                                                          $
                      Case 1:20-cv-21108-UU Document 53 Entered on FLSD Docket 06/19/2020 Page 49 of 49
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